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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


 JOHN DOE,                                                      5:19-cv-190 (BKS/ATB)
                                               Civil Case No. _______________

                Plaintiff

        vs.

 SYRACUSE UNIVERSITY,                          COMPLAINT AND JURY DEMAND
 SYRACUSE UNIVERSITY BOARD OF
 TRUSTEES, SHEILA JOHNSON-
 WILLIS, in her individual capacity, AND
 BERNERD JACOBSON, in his
 individual capacity,

                Defendants.


  I.   INTRODUCTION

       1.      Plaintiff John Doe brings this civil action under Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”), under the New York State

Constitution, Art. I, § 6 for breach of due process rights, and under common-law theories of

breach of contract, negligence, and other related claims.

       2.      Plaintiff seeks to recover from Defendants Syracuse University and Syracuse

University Board of Trustees (collectively, “Syracuse”) as well as from individual Defendants

Bernerd Jacobson (“Investigator Jacobson”) and Sheila Johnson-Willis (“Chief Title IX Officer

Johnson-Willis”) for their willfully biased and recklessly discriminatory investigation and

adjudication of a sexual misconduct complaint against John Doe. Defendants expelled John Doe

after discriminating against him on the basis of sex, among other willful, negligent acts.

       3.      John Doe’s wrongful expulsion followed a biased investigation and proceeding in

which Syracuse found him “responsible”—the equivalent of “guilty” in a criminal proceeding—




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for the alleged rape of a female student (“RP”) after the Syracuse Police declined to prosecute or

investigate further.1

         4.       RP and John Doe’s sexual intercourse arose out of fully consensual, repeated

encounters between the two students. Moreover, they had sex entirely off campus, and their

relationship had no effect on campus events. After two prior consensual sexual encounters, RP

first alleged that “nothing” was consensual about a sexual encounter on November 13, 2016; but

on that day, RP voluntarily drove herself to John Doe’s apartment, where they had sex after

attending church.

         5.       John Doe denies that any sexual acts with RP were nonconsensual. The case

came down to his version of events versus RP’s say-so. But whereas John Doe’s account of

events has remained consistent, RP changed her story repeatedly as Syracuse investigated. After

RP first insisted that she did not consent to any sexual acts on November 13, 2016, she later

conceded that some acts were, in fact, consensual. On the other hand, after previously admitting

that her prior encounters with John Doe (on October 11 and October 24, 2016) had been entirely

consensual, she later alleged that John Doe had attempted vaginal rape on October 24, 2016.

         6.       Syracuse rejected a mass of RP’s allegations as untrue. Syracuse maintains a

quasi-judiciary composed of a University Conduct Board (“UCB”), full-time investigators, and

victims’ advocates. In its written decision, the UCB rejected RP’s allegation that John Doe

attempted vaginal rape on October 24, 2016. It also rejected her assertion that nothing she did

with John Doe on November 13, 2016 had been consensual. The UCB did not believe that RP

refused to kiss or move into John Doe’s bedroom, among other sex acts.


1
 RP stands for “reporting party,” the term used for alleged victims who report sexual misconduct (in the jargon of
Title IX proceedings). The initials bear no relationship to this woman’s name and are intended to protect her
privacy given the sensitive details set forth in this Complaint. As alleged in this Complaint, RP did not bring the
Syracuse Title IX complaint against John Doe and was not, in this strict sense, the “reporting party.”

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       7.          Syracuse correctly rejected these false allegations yet nevertheless contradicted

itself. Its official decision stated unequivocally that RP was credible. Inexplicably, the UCB

credited RP’s claim that she did not consent to vaginal intercourse—but only on the occasion of

November 13, 2016—while correctly disregarding her claim of attempted non-consensual

vaginal intercourse of October 24, 2016.

       8.          Throughout the investigation and adjudication of John Doe’s case, Defendants

violated federal law, violated the New York State Constitution, and disregarded Syracuse’s own

policies. Defendants’ illegal and wrongful acts include, without limitation:

              i.    Failing to provide John Doe with the complaint against him: John Doe
                    has never received a copy of Syracuse’s complaint;

             ii.    Issuing a secret “No Contact Order,” applying only to John Doe, without
                    notice to John Doe;

            iii.    Placing a “victims’ advocate” in charge of its investigation, who
                    conducted a biased inquiry of facts that favored the female victim at the
                    expense of the accused male student;

            iv.     Delaying proceedings against John Doe without cause and without
                    written justification;

             v.     Failing to provide John Doe the right to cross examine RP or other
                    witnesses and refusal to allow John Doe to call witnesses in his support.
                    Indeed, the UCB denied John Doe the right to know what RP said against
                    him at hearing.

            vi.     Prejudging John Doe by presuming him responsible for rape;

            vii.    Applying archaic gender stereotypes of male sexual desire: Defendants
                    found that John Doe’s admission of sexual desire for RP was equivalent
                    to admitting of premeditated rape;

        viii.       Applying equally archaic stereotypes of passive female victimhood; and

            ix.     Failing to provide John Doe with an unbiased tribunal: John Doe came
                    before a UCB crusading against supposed male “rape culture.”




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       9.      Syracuse’s discriminatory and erroneous expulsion has not only blighted John

Doe’s education, future income, and earning capacity; John Doe has also been branded a rapist

and is now emotionally and psychologically devastated.

 II.   PARTIES

       10.     John Doe is a natural person who resides in Avon, Connecticut. From 2016-April

2017 he was a student in the Masters program of Defendant Syracuse University’s Forensic &

National Security Sciences Institute.

       11.     Defendant Syracuse University (“Syracuse”) is a private institution of higher

education that receives federal funding. Syracuse is located in Syracuse, New York.

       12.     Defendant Syracuse Board of Trustees (“Syracuse Board”) currently has 45

voting members and is responsible for making rules, codes of conduct, policies, and regulations

that govern Syracuse. Its principal place of operations is 900 S. Crouse Avenue, 602 Crouse-

Hinds Hall, Syracuse, New York.

       13.     Sheila Johnson-Willis is a resident of the State of New York and was Interim

Chief of Syracuse’s Equal Opportunity and Title IX Officer (“Chief Title IX Officer Johnson-

Willis”) at all times relevant to this Complaint.

       14.     Bernerd Jacobson (“Investigator Jacobson”) is a resident of the State of New York

and was the Syracuse Title IX Investigator responsible for John Doe’s case at all times relevant

to this Complaint.

III.   JURISDICTION AND VENUE

       15.     This Court has jurisdiction under 28 U.S.C. § 1331 and under 28 U.S.C. § 1367(a)

because Plaintiff’s cause of action arises under Title IX, a law of the United States. This Court

has supplemental jurisdiction over all state court claims under 28 U.S.C. § 1367(b).



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         16.     This Court also has jurisdiction under 28 U.S. Code § 1332(a) because there is

complete diversity. John Doe is a resident of Connecticut whereas all Defendants reside in New

York State. The amount in controversy exceeds $75,000.

         17.     Venue is proper in the Federal District Court for the Northern District of New

York under 28 U.S.C. § 1391(b) because Defendants reside within the jurisdiction of this Court,

and a substantial part of the acts and omissions giving rise to Plaintiff’s claims took place within

the jurisdiction of this Court.

IV.      FACTS

      A. Plaintiff and RP’s Consensual Relationship

         18.     Plaintiff John Doe is originally from Avon, Connecticut, and RP is from

Torrington, Connecticut. He and RP attended the same church, Valley Community Baptist

Church. They met each other prior to attending Syracuse. John Doe has been an active

participant and service volunteer in the community, including but not limited to the Lakeside

Christian Youth Camp, missions work, and community outreach.

         19.     At the time of the alleged incident, Plaintiff John Doe was 23 years old and had

just graduated from Liberty University in Lynchburg, Virginia with a BS in Biology and minors

in Chemistry and Psychology. He served as a student leader at Liberty and as a Student Spiritual

Life Coach on campus.

         20.     John Doe has an impeccable reputation. Throughout his life, he has never had any

disciplinary actions against him until Syracuse’s wrongful, erroneous sexual misconduct

proceeding. Throughout his academic career from grade school through high school and as a

student at Liberty University (which imposes a strict Christian code of conduct), John Doe was

never accused of wrongdoing. He was never the object of disciplinary action.



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       21.     In Fall 2016, John Doe enrolled in the Masters Program at Syracuse’s Forensic &

National Security Sciences Institute in Forensic Science. His goal was to pursue his dream

career in forensic investigations. He worked diligently and with academic honors. His graduate

work included cross-disciplinary research with the Syracuse Biology Department.

       22.     Although the alleged incident occurred and was reported in November 2016,

Syracuse dragged out its final decision to expel John Doe until May 2017, when he had only one

more remaining class and was only awaiting his research results to finish his last degree

requirements. The timing could not have been more damaging to John Doe. Although he still

received recommendations from staff and professors when Syracuse erroneously and wrongfully

expelled him in the Spring of 2017, he was forever barred from completing his degree.

       23.     RP is three years John Doe’s senior. She was pursuing a Masters Degree in

Social Work at Syracuse. Having met at church in their home state, they looked forward to

meeting socially at school when they realized they were both attending Syracuse.

       24.     RP and John Doe shared a deep commitment to their Christian faith and values.

They discussed their common belief systems and attended the same church, the North Syracuse

Baptist Church.

       25.     In August 2016, when arriving in Syracuse to begin their respective educations,

they began spending time together on a regular basis. They attended Syracuse football games,

played volleyball, went to the mall together, and took time to get to know each other. They went

to church together and shared intimate details of their personal lives and ambitions. They began

to meet weekly in the evening for meals, conversation, shopping, and other activities.

       26.     A mutual attraction developed based on both physical desire and shared values,

yet in Fall 2016, each was dating someone else. As RP and John Doe’s relationship evolved,



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balancing their mutual attraction, their commitments to others, and their Christian values became

increasingly conflicted. Neither party had extensive sexual experience. At the time they began

spending time together, both RP and John Doe disclosed to the other that they were still virgins.

Both RP and John Doe had resolved to remain abstinent until marriage and remined committed

to that resolution.

        1) First Encounter of Tuesday, October 11, 2016

        27.     On Tuesday, October 11, 2016, John Doe left class at approximately 7:45 PM. As

had become customary, he gave RP a quick call to ask if she wanted to “hang out.” RP stated

she would like to get together with John Doe. She later divulged that her current boyfriend had

broken up with her. John Doe and RP decided to go out for sushi at the Destiny Mall. John Doe

listened as RP discussed her personal problems.

        28.     After eating, RP continued to seek support from John Doe and asked to go to his

apartment where she continued to talk. John Doe continued to listen to RP. As they sat on the

couch, RP looked for physical as well as emotional comfort. The two had their arms around

each other and eventually began to kiss. RP continued to kiss him.

        29.     The physical connection continued by RP getting on top of John Doe. The

encounter progressed to mutual fondling and they agreed to move into John Doe’s bedroom.

They mutually agreed to remove each other’s clothing as evidenced by their simultaneous

actions and desires. John Doe picked her up and carried her, and she demonstrated her active

participation by wrapping her legs around John Doe’s waist. As the sexual encounter

progressed, John Doe asked for and received verbal consent from RP as well as nonverbal cues

indicating her affirmation of their encounter. RP was an active, willing and assertive participant.

John Doe and RP attempted vaginal intercourse but without success.



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       30.     After this encounter, John Doe felt conflicted, and RP stated she still had feelings

for her recent ex-boyfriend. They also discussed how they both believed their encounter had

violated their Christian values.

       31.     John Doe also regretted that he was in a relationship with another woman. He

told RP that he was upset by how their actions would affect his other relationship. John Doe felt

such emotional anguish that RP offered to take him to the hospital. He refused this assistance,

but that night he sought professional support independent of RP.

       32.     RP and John Doe’s further sexual encounters developed in the same pattern, and

each encounter demonstrated RP’s affirmative consent at every stage in their sexual behavior.

They also discussed their mutual desire to maintain their Christian morality and were confused

over their physical desire and sexuality.

       2) Second Encounter of Monday, October 24, 2016

       33.     During the two weeks after their first encounter, John Doe and RP continued to

struggle with feelings of guilt. John Doe was convinced it was appropriate to confess to his

current girlfriend. His relationship with his girlfriend ended as a result of the confession. John

Doe continued independently to seek emotional support during this time from a Christian

Counselor.

       34.     RP and John Doe continued to have feelings for each other. When they talked on

multiple occasions, they discussed whether or not they should avoid “hanging out” to ward off

the temptation of another sexual encounter. By the weekend of October 22/23, 2016, John Doe

and RP discussed the effect of their behavior on their relationship and expressed that they would

each seek forgiveness as they were taught by their Christian upbringing and values.

       35.     On October 24, 2016, they met again, a meeting John Doe originally arranged at a

coffee shop. RP initially agreed to the public location, but instead, RP voluntarily drove to John
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Doe’s apartment around 5:00 p.m. and went into John Doe’s apartment. John Doe discussed his

feelings about his break up and about his Christian values. In addition, he had just discovered

someone had broken into his car and stolen his laptop and backpack.

       36.     The two agreed to stay at John Doe’s apartment to talk, and soon they both began

to be intimate, which again evolved into a sexual encounter. Their consensual sexual behavior

followed the same pattern as the previous encounter. They began to kiss each other. They

agreed through their actions and words to move to John Doe’s bedroom. The mutuality of this

event was evidenced by John Doe picking RP up while she actively wrapped her legs and arms

around John Doe. They continued various sexual behaviors that they both enjoyed and desired to

continue. It is undisputed that they attempted vaginal intercourse during this second encounter,

but again without success.

       37.     As with the previous encounter on October 11, 2016, John Doe asked for and

received affirmative consent to each act throughout their sexual behavior.

       38.     RP gave affirmative consent to each specific sexual act, both verbally when asked

and through affirmative actions (such as mounting John Doe, reaching for his genitals,

“grinding” on John Doe’s genitals—among other affirmative and assertive behavior). It is

equally important that, when RP appeared not to enjoy an act to which she had consented, John

Doe stopped. The couple would then move on to other consensual acts.

       39.     For example, at one point during their second sexual encounter, RP appeared not

to enjoy performing oral sex (although it is undisputed that she gave consent and actively

participated in this act). Constantly being attentive to RP’s cues and feelings, John Doe noticed

her discomfort immediately. They talked about it, and John Doe asked her to stop. They

stopped and transitioned to other sexual acts, to which RP affirmatively consented and had no



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physical, emotional, or verbal discomfort. She gave no negative expression to their ongoing

encounter. At no time was this encounter ever forceful by either party or non-consensual.

       40.     Inexplicably and without legal basis or reason, Syracuse later used the fact that

John Doe listened to all cues given by RP as evidence against him. Syracuse erroneously used

evidence that John Doe stopped specific sexual activity when given any slight cue by RP as

evidence that RP had given no consent to any sex thereafter. Syracuse selectively enforced this

unrealistic interpretation of consent by ignoring that it was John Doe who first requested that RP

stop performing oral sex on him. According to Syracuse, men cannot irrevocably withdraw

consent by asking a woman to stop, but once a female withdraws consent to a specific act,

consent cannot be voluntarily re-given for any subsequent act.

       41.     After the second encounter, John Doe and RP once again felt conflicted by their

Christian values and their sexual desire. The two also discussed RP’s unstable and unpredictable

relationship with another man, which increased her feelings of her wrongdoings during their

sexual encounters. They discussed their need to avoid temptation and follow their Christian

values, so they again decided that it would be best if they stayed away from each other. That

evening, John Doe again felt remorse for their behavior and again sought support and help from

a professional counselor. He continued to seek the support of his Christian counselor. At all

times, John Doe sought professional assistance to cope with his emotions regarding these issues.

       3) Third Encounter of Sunday, November 13, 2017 Follows the Exact Same Pattern as
          Previous Encounters

       42.     John Doe and RP engaged in a third encounter that followed the exact same

pattern as the first two encounters.

       43.     On November 13, 2016, John Doe went to church in Syracuse and saw RP when

he walked in. RP continued talking to John Doe and stated she had no money for lunch, and so


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John Doe invited her to have lunch at his apartment after church. RP responded that she would

like to. She later gave contradictory accounts: she denied wanting to come to John Doe’s

apartment even though she voluntarily drove her own car. Syracuse, however, never asked RP

about these contradictions. These contradictions were not even considered during the

investigation, hearing, or appeal process.

       44.     Once inside John Doe’s apartment, they began to kiss on John Doe’s couch. This

was intentional by both parties as evidenced by stopping the kissing to eat, having conversation,

and then resuming kissing after eating. Throughout this time, RP was an active and willing

participant, and both parties mutually participated in the sexual behavior. As they had on prior

occasions and with mutual consent, John Doe and RP moved to his bedroom. RP again actively

wrapped her legs around John Doe as he carried her to the bedroom. They removed each other’s

clothing and progressed to mutual fondling. John Doe was attentive to RP’s desires and cues.

John Doe, being conscious of RP’s feelings and desires, asked RP if she wanted to stop “making

out.” She said yes, so John Doe immediately stopped his actions. As he had before, when RP

said no, John Doe understood “no” to mean “no” and respected her statement.

       45.     RP remained next to him and began flirtatiously teasing him and touching him.

John Doe responded to her and kissed her, and she responded by kissing him back and fully and

actively participated in the physical contact. John Doe was cognizant that they were acting on

mutual desires that they may both later regret. RP said, “not to worry about it”; and she said that

it “didn’t bother” her that they were in a similar situation as their other two encounters.

       46.     After she made those statements, John Doe asked if they could “make out” again,

and RP agreed and consented to kissing again. The encounter progressed beyond making out

just as it had on the other two occasions. They mutually began undressing each other. At no



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time during this encounter was there any pressure, any force, or any involuntary action of either

party.

          47.   John Doe asked if he and RP could again attempt vaginal sex, as they had

attempted unsuccessfully on the two previous occasions. She consented, agreed, and continued

to engage in the sexual behavior. On this occasion, the two successfully completed vaginal

intercourse.

          48.   John Doe performed all sexual acts with RP’s affirmative consent and RP

performed all sexual acts with John Doe’s consent. John Doe halted specific acts when RP gave

cues, verbal or physical, to stop. The two only continued when both mutually and affirmatively

consented to continue sexual behavior after each hiatus. All sexual acts occurred within the

exact same pattern of voluntary, mutually consensual sex as in their prior encounters.

          49.   After the fact, both John Doe and RP talked about feeling remorse about their

mutual desires, completing the sexual act, and conflict with their faith. RP also stated that she

was conflicted due to her attempt to commit again to her other boyfriend. She also stated to John

Doe that she was upset that she may not be a virgin anymore and expressed confusion about this

point. They again agreed not to see each other to avoid temptation. They then turned to small

talk. RP did, however, express to John Doe that she was “fine” and “ok with the situation.”

          50.   However, after time passed, RP met with a Syracuse professor and RP decided to

report that John Doe had sexually assaulted her. She alleged that no sexual contact during the

day of November 13, 2016 had been consensual. Although she made this claim, there is and was

no evidence of her engaging in or obtaining medical assistance or any physical exam. Nor was

there any report or witness of any actual trauma on her part on that day or at any time after the




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incident. On information and belief, Syracuse’s representatives unduly influenced RP to recast

her experience as sexual assault after the fact.

   B. Public and Government Pressure on Syracuse

       51.     At the precise time of RP and John Doe’s sexual encounters, Syracuse faced

substantial criticism for allegedly looking the other way when female students complained of

sexual assault as well as not actively prosecuting alleged male perpetrators. The pressure came

from multiple sources, including, but not limited to its student body, the media, and federal and

state government. For example, there were mass demonstrations in Fall 2016 within the student

body accusing Syracuse of tolerating a male “rape culture.”

       52.     At this time, Colleges and Universities, including Syracuse, feared being

investigated or sanctioned by the Department of Education’s Office for Civil Rights (“OCR”) for

violating Title IX. They also feared lawsuits brought by alleged female victims of sexual assault

and complaints to the OCR and Department of Justice (“DOJ”). The head of the OCR, Assistant

Secretary of Education Catherine E. Lhamon (known for her former career as an aggressive

litigator with the Los Angeles ACLU) was quoted in the LA Times stating, “We don’t treat rape

and sexual assault as seriously as we should, . . . [There is] a need to push the country forward.”

David G. Savage and Timothy M. Phelps, How a little-known education office has forced far-

reaching changes to campus sex assault investigations, LA Times (August 17, 2015).

       53.     Lhamon told a national conference at Dartmouth in the summer of 2014, “I am

prepared to withhold federal funds” from universities. How Campus Sexual Assaults Came To

Command New Attention, NPR (August 12, 2014).

       54.     The federal government created significant pressure on Syracuse (and other

universities) to treat male students accused of sexual misconduct with a presumption of guilt.

The Chronicle of Higher Education noted, “Colleges face increasing pressure from survivors and
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the federal government to improve the campus climate.” Presumed Guilty: College men accused

of rape say the scales are tipped against them, Chronicle of Higher Education (September 1,

2014) (available at https://www.chronicle.com/article/Presumed-Guilty/148529). The Chronicle

noted that colleges and universities had begun to apply different standards to men and women:

“Under current interpretations of colleges’ legal responsibilities, if a female student alleges

sexual assault by a male student after heavy drinking, he may be suspended or expelled, even if

she appeared to be a willing participant and never said no. That is because in heterosexual cases,

colleges typically see the male student as the one physically able to initiate sex, and therefore

responsible for gaining the woman’s consent.” As the Chronicle observed, this broad-based

movement applied archaic gender stereotypes of male sexual drive, on the one hand, and the

passive victimhood of female students, on the other.

       55.     In direct response to pressure from the OCR and other organizations, government

bodies, and officials, Syracuse curtailed the procedural protections afforded to male students

such as John Doe in sexual misconduct cases. This is not political speculation or a conclusory

allegation. The Association of Title IX Administrators (“ATIXA”), which trains more university

Title IX administrators than any other organization, published a “2014 Whitepaper” entitled

“Equity is Such a Lonely Word.” The Whitepaper includes training materials presented to

college Title IX departments, and it states: “victims have historically been accorded 3/5 of the

rights of an accused individual (or less), and victims are typically women, equity may require

institutions to recalibrate the pendulum to right the historical imbalance.”

       56.     The movement to press Syracuse to address a supposed male “rape culture” grew

out of these kinds of OCR threats and training materials, but it was also a social movement to

curtail due process rights. Sixteen professors of the University of Pennsylvania Law School



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objected, “All the universities are being stampeded to go along [with] improper pressure upon

universities to adopt procedures that do not afford fundamental fairness.” LA Times (August 17,

2015) (quoting professor Stephanos Bibas).

        57.      The pressure was palpable at Syracuse. In September 2014, students, faculty and

staff gathered on the steps of Hendricks Chapel at Syracuse to protest sexual assault policies.

“The protest concluded with about 50 advocates storming the chancellor’s office and slapping

him with [a] petition,” which boasted “8,000 signatures and 700 comments requesting the

establishment of a new [victim advocacy] facility.”2 Paige Carlotti, 'Rally For Consent' protest

aims to alter sexual assault resources at Syracuse, USA Today (September 19, 2014).

        58.      In November 2014, an organization called “THE General Body,” a collective of

student organizations, spent close to three weeks occupying the Syracuse administration building.

Among the demands from THE General Body were increased attention to the issue of sexual assault.

The reform of Syracuse’s supposed male “rape culture” was central to this agenda. A student

leader of the movement, Laura Cohen, spoke on behalf of THE General Body:

          Syracuse University, as well as most other universities, has a culture of rape.
          Rape culture means that in certain spaces, rape and sexual assault is pervasive
          and normalized due to our attitudes about gender and sexuality. This culture
          includes sexual objectification, victim-blaming, and the denial of rape and
          sexual assault as a real issue. When one in four college women report surviving
          rape or attempted rape at some point in their lifetime, there can no longer be a
          refusal to acknowledge the harm of sexual violence on this campus, and we need
          better systems in place to combat this.

Press release, “We Still Do Not Have a Safe Space” (available at

https://thegeneralbody.org/tag/rape-culture/). THE General Body, deploying inflated statistics

known to be inaccurate by Defendants at the time, among other inaccuracies, demanded



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 The petition can be found here: https://www.change.org/p/syracuse-university-reinstatement-of-the-advocacy-
center-to-provide-confidential-sexual-assault-support-services-at-syracuse-university. Its supporters posted
comments such as “rape is not a ‘mental illness.”

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increased protection for female victims of sexual assault and demanded stepped up prosecution

of alleged male perpetrators.

       59.     As used at Syracuse, “rape culture” is inherently gender-based. Advocates who

target “rape culture” refer to male perpetrators; and, as Ms. Cohen pointed out in her own

advocacy, they refer to female victims. There is no female “rape culture.” Stamping out “rape

culture” means targeting the male student body.

       60.     A document outlining communications between THE General Body and the

administration demonstrates the significant focus on campus sexual assault. THE General Body,

Compiled Responses (available at https://thegeneralbodydotorg.files.wordpress.com/2014/11/

compiled_grievances_needs_responses_11_12.pdf). It also clearly outlines the Syracuse

administration’s knowledge of and sensitivity to these criticisms. These communications contain

specific personal criticism of the Syracuse Title IX Coordinator for her role in prior matters

where the University supposedly did not take female students’ complaints seriously enough or

act upon them. The students demanded that Syracuse prioritize victims’ advocacy and commit to

“ending” the perceived “rape culture”--invariably identified as exclusively male. THE General

Body, Compiled Responses at 36.

       61.     In December 2014, Syracuse received a report from the Chancellor’s Workgroup

on Sexual Violence Prevention, Education, and Advocacy (available at http://inclusion.syr.edu

/wp-content/uploads/2016/12/Workgroup-Final-Report-Dec-2014.pdf). The purpose of the

Workgroup was to identify critical gaps in services and support for victims and survivors of

sexual and relationship violence on campus. The Workgroup set out to prevent sexual assault at

Syracuse by the male student body: “The discourse on campus about sexual assault and




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relationship violence typically focuses on male-on-female violence involving students who are

fulltime undergraduates, White, and heterosexual.” (See Report at 5.)

       62.     Syracuse also received national attention as a result of a September 2015 CNBC

report titled, “One of the most dangerous places for women in America,” which identified a

“rape crises” (available at https://www.cnbc.com/2015/09/22/college-rape-crisis-in-america-under-

fire.html). The report described an incident with a Syracuse student that occurred in 2012 in

which an alleged sexual assault never led to criminal charges. The article also quoted a Boston

University student, who stated, “Schools like to pretend that there isn't a rape culture problem

and that they are a very caring university.” Id.

       63.     By 2014/2015, immediately prior to the accusations against John Doe, Syracuse

became determined to highlight that it was a true “caring university,” committed to ending its

perceived male “rape culture.” Syracuse’s administrators and its Title IX office were sensitive to

criticism of their sexual assault policies and their own perceived deficiencies accommodating

female victims. In all Syracuse’s attempts to change its growing reputation, Defendants

identified a “rape culture” as exclusively associated with men, and they identified female

students exclusively as the victims of “rape culture.”

       64.     The extreme pressure to reform its approach to sexual assault policies encouraged

Syracuse’s decision-makers and its investigators to favor victims’ advocacy in support of female

students who come forward with accusations. It also shifted presumptions in favor of believing

women and in favor of presuming accused male students responsible for sexual assault. These

presumptions resulted in policies that allowed for less evidence, improper investigations, and

cursory, biased review of the facts, all resulting in less legal protection for the alleged male

perpetrator and more opportunity for false accusation and unfair punishment.



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       65.     The pressure motivated Syracuse to protect its reputation and motivated its

administrators to protect their positions. Defendants strove to demonstrate that Syracuse would

do anything to support female students who alleged sexual assault.

       66.     On information and belief, in the case of RP and other women who came forward

in the 2016/2017 timeframe, Syracuse’s willingness to accept uncritically female’s accusations

of sexual assault reached a zenith. Syracuse was eager and overly enthusiastic to demonstrate to

the student body and the public that it was serious about quashing a supposed male “rape

culture” on campus. Syracuse investigators, its hearing panels, and administrators adopted a bias

in favor of the accusing female student and against the accused male student to quell criticism

that Syracuse had turned a blind eye to alleged assaults by men.

       67.     Pressure continued to mount on Syracuse to curtail due process in order to strike a

blow against male “rape culture.” In October 2016, students dragged mattresses covered with

messages in red tape to protest Syracuse’s alleged “rape culture.” According to news reports,

“Students took turns standing or sitting with mattresses on the quad. The mattresses were

marked up with red tape that read ‘rapists go here [i.e., Syracuse],’ ‘survivor,’ and ‘I can hear

your silence.’” SU students protest handling of sexual assault cases with mattresses, red tape,

Syracuse University News (October 4, 2016) (available at: http://www.syracuse.com/su-

news/index.ssf/2016/10/su_students_protest_handling_o.html).

       68.     The demonstration was inspired by a similar protest at Columbia University, in

which students objected to a Columbia decision finding a male student not responsible (multiple

times) for allegations of sexual assault after affording him due process and a full evidentiary




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hearing.3 One message the demonstrators attempted to convey was that due process was an

impediment to protecting alleged female victims. The protesters, including approximately 50

faculty members, described Syracuse as an “institution that lets perpetrators walk free while

survivors, activists, and our families must bear the injustice silently.” Students hold red tape

demonstration against sexual assault, Daily Orange (October 4, 2016) (available at:

http://dailyorange.com/2016/10/students-hold-red-tape-demonstration-sexual-assault/).

        69.      Also in 2016 and immediately prior to Syracuse’ initiation of its investigation

against John Doe, Syracuse responded to at least two OCR investigations, each of which carried

the threat of cutting off Syracuse’s federal funding:

          On June 22, 2016 OCR notified Syracuse that OCR was investigating an
          allegation that Syracuse failed to respond “promptly and equitably” to a “report
          of sexual assault.” OCR Docket # 02-16-2168.

          On January 17, 2016, OCR notified Syracuse that OCR was investigating a first
          allegation that Syracuse failed to respond “promptly and equitably” to a “report
          of sexual assault.” OCR Docket # 02-16-2323. 4

        70.      The pressure and fear at Syracuse reached an all-time high as their federal funding

appeared in jeopardy. As a result of the above-mentioned investigations, OCR demanded

significant amounts of data and information from Syracuse. OCR attorneys also scheduled a

visit to Syracuse on January 24, 2017. See Feds to visit Syracuse University as part of sexual

assault procedures investigation Syracuse University News (January 13, 2017) (available at




3
  The Court may take judicial notice of the Columbia episode, which resulted in multiple decisions of the Southern
District of New York after the male student sued Columbia University in defamation and Title IX, among other
theories. See e.g. Nungesser v. Columbia University, 169 F.Supp. 3d 353 (2016); Emily Bazelon, Have We Learned
Anything from the Columbia Rape Case? New York Times Magazine (May 29, 2015) (available at
https://www.nytimes.com/2015/05/29/magazine/have-we-learned-anything-from-the-columbia-rape-case.html).
4
  Although the letter is dated January 17, 2016, Plaintiff believes that the actual date of the OCR letter was 2017
based on the August 2016 date of the complaint referenced in the letter and contemporaneous media reporting. On
information and belief, in February 2017, the graduate student at the center of the second OCR investigation
withdrew the complaint and the OCR closed the second investigation.

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https://www.syracuse.com/su-news/index.ssf/2017/01/feds_to_visit_syracuse_

univers.html).

       71.       The January 24, 2017 visit from OCR focused on a complaint alleging that

Syracuse was not acting promptly enough when it received notice of female students’ allegations

of sexual assault.

       72.       According to a news report, Syracuse administrators emphasize their efforts to

appease the OCR. “Campus officials said they have taken ‘significant’ steps in recent years to

prevent sexual and relationship violence.” Id. The OCR also held a public discussion in Schine

Student Center on January 24, 2017 and January 25, 2017. See announcement at

https://news.syr.edu/wp-content/uploads/2017/01/F_G_-Flier_updated.pdf

       73.       During the Syracuse visit, OCR attorneys asked students and faculty for their

opinions of Syracuse’s response to sexual assault and discrimination allegations. Office for Civil

Rights attorneys hold first of 2 meetings on Title IX investigation at SU, Daily Orange (January

24, 2017) (available at: http://dailyorange.com/2017/01/office-for-civil-rights-attorneys-hold-

first-of-two-meetings-on-title-ix-investigation-at-su/).

       74.       Syracuse initiated its Title IX Complaint against John Doe the day OCR came to

campus on January 24, 2017. This was over two months after the incident was reported and after

the Syracuse Police Department completed its investigation and closed the file. Syracuse saw no

need to take action on RP’s allegation of sexual assault. The case had been dormant since

November 15, 2016. On information and belief, Syracuse began its investigation and initiated

the Title IX Complaint against John Doe the day after the OCR visit in response to public and

governmental pressure to extirpate the so-called “rape culture” among Syracuse male students.




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   C. The Gender Bias of Syracuse’s Title IX Office

       75.     Syracuse’s Title IX Office instituted gender biased policies and procedures due to

the atmosphere of student protests, media attention, and governmental pressure. Furthermore,

Syracuse appointed administrators and staff who furthered this bias, as manifested in the

investigation, hearing, decision, and appeal of John Doe’s case. Syracuse officials were acting

out their own biases.

   1) Carrie Grogan Abbott

       76.     For example, Carrie Grogan Abbott, the chair of John Doe’s Hearing Board, had

been official censor of the student TV station, HillTV. See HillTV content ignites

communitywide discussion, The Daily Orange (October 19, 2005) (available at

http://dailyorange.com/2005/10/hilltv-content-ignites-community-wide-discussion/). During

Abbott’s tenure as station censor, Syracuse closed HillTV in response to complaints that a

comedy show it had aired promoted male “rape culture.” Students and faculty complained that

the show (called Over the Hill, only one show among many aired by HillTV) portrayed sensitive

topics in a way that adversely affected women on campus. See Syracuse University head shuts

down student TV station, FIRE (October 27, 2005) (available at https://www.thefire.org/media-

coverage/syracuse-university-head-shuts-down-student-tv-station/). Syracuse punished all

students at HillTV by closing the station as a whole, although the alleged offensive content was

limited to one show. Id. The hasty, blanket closure of HillTV showed that Syracuse (and

Abbott) would not hesitate to sideline due process and take action when it perceived such

offenses.

       77.     HillTV demonstrated that “most of the [Syracuse] community has been raised in a

culture that builds the message that racism, sexism and rape are all right,” according to Joan

Gabel, a member of Syracuse’s University Senate. HillTV content. By closing HillTV in its

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entirety, with Abbott’s full participation, Syracuse opted for collective punishment. This meant

implementing procedural shortcuts that Syracuse would later apply to John Doe. The university

meted out this collective sanction without formally notifying the students involved of what

charges or code violations Syracuse (and Abbott) presumed them to be responsible for. Syracuse

University head shuts down student TV station.

       78.     Carrie Grogan Abbott was the chair of John Doe’s Hearing Board, which found

him responsible for sexual assault in May 2017. She continued to apply the biases that she had

already shown in the HillTV controversy, which involved curtailing procedural rights in favor of

censorship and a crackdown on “rape culture” at Syracuse.

       2) Defendant Sheila Johnson-Willis

       79.     Syracuse’s Chief Equal Opportunity and Title IX Officer is Defendant Sheila

Johnson-Willis. She heads Syracuse’ Title IX office and has exhibited bias against male alleged

perpetrators throughout her term. She served as interim head of that office in 2016/2017 when

Syracuse expelled John Doe. In February 2018, Syracuse named her Associate Vice President of

its Title IX office, making her position permanent.

       80.     At all times relevant to this Complaint, Chief Title IX Officer Johnson-Willis led

Syracuse’s response to external pressures to increase enforcement of Title IX, show increased

prosecution of alleged male perpetrators, and eradicate the supposed “rape culture.” (See Sheila

Johnson-Willis Appointed Chief Equal Opportunity and Title IX Officer, Syracuse University

News (February 15, 2018) (available at https://news.syr.edu/blog/2018/02/15/sheila-johnson-

willis-appointed-chief-equal-opportunity-and-title-ix-officer/).

       81.     Chief Title IX Officer Johnson-Willis’ bias has been caught on live video. On or

around November 2015, a young woman from the conservative organization Project Veritas

filmed a meeting in her office. The young woman posed as a traumatized student. She claimed
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to be “triggered” and oppressed by the Constitution of the United States (including Amendments

such as the Fifth and Fourteenth that guarantee due process). (See

https://www.youtube.com/watch?v=4THEcWCpEgQ at 5:40).

       82.     The student said she was “completely shocked” by “such an oppressive

document.” Id. She argued to Chief Title IX Officer Johnson-Willis that the Constitution

discriminates against women and minorities. Id. at 6:06. In response, Chief Title IX Officer

Johnson-Willis not only nodded in assent, but she also took out scissors and cut up the

Constitution in front of the student’s eyes to assuage the student’s hurt feelings. Id.

       83.     This was clearly a set up by Project Veritas, but however fake the student’s

alleged “trauma,” the reaction of Chief Title IX Officer Johnson-Willis was real. Johnson-

Willis’ reaction demonstrates that she and her office support and collaborate with female

students who allege even the most implausible “victimization,” whether or not this comes at the

expense of male students.

       3) Defendant Bernerd Jacobson

       84.     Syracuse’s Title IX office and its administrators exert themselves to protect

perceived female victims. Defendant Investigator Jacobson, who handled John Doe’s case is a

prime example. Syracuse’s Equal Opportunity, Inclusion, & Resolution Services hired him in

2015, exactly the time pressure began to boil over to increase sexual assault prosecutions,

increase the sanction of men, and protect female victims from male “rape culture.”

       85.     Ostensibly, a Title IX investigator must be “prompt, thorough, and impartial.”

See OCR, Revised Sexual Harassment Guidance: Harassment of Students by School Employees,

Other Students, or Third Parties (January 2001) at 15. But Syracuse hired Investigator Jacobson

due to his background in victim advocacy, in which he championed the victim’s voice. He is not



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unbiased. On information and belief, he performs his job as the protector and advocate of

victims, almost exclusively female. He is not neutral; he is their advocate.

        86.      As addressed more fully below, Investigator Jacobson utilizes biased “trauma-

informed” interview techniques, which privilege the account of alleged victims over accused

male students.

        87.      Investigator Jacobson is a devotee of Trauma Informed Victim Interview

Techniques, also known as Forensic Experiential Trauma Interview techniques. He has “liked”

articles promoting such techniques on the social media site LinkedIn. On information and belief,

Syracuse selected Investigator Jacobson not only because of his background as a victim advocate

but also because of his enthusiasm for these so-called “trauma informed” techniques.

        88.      In brief, “trauma-informed” techniques hold that victims’ memories are

fragmented and prone to expressions of feelings or sensations rather than the precise recall of

events. According to this methodology, trauma affects the prefrontal cortex of the brain, causing

victims to lose their ability to think logically or direct their attention to details. Primitive brain

structures allegedly take control of victims and shape their memory as witnesses. By contrast,

the perpetrator of a sexual assault (often stereotyped as a repeat offender—which John Doe

obviously was not) are supposedly rational actors, planning, practicing, and even becoming

habitual rapists and sexual predators.

        89.      Trauma-informed techniques turn unreliable evidence into its opposite and vice

versa. Inconsistency in the alleged female victim’s account thereby becomes evidence that her

testimony is truthful, because of alleged trauma. Conversely, the accused’s consistent story

becomes evidence that he is a premeditated and experienced sex offender.




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       90.     Syracuse has taught the “trauma-informed” technique to its Title IX investigators

and administrators. See University Faculty, Staff Receive Training on Investigating Complaints

of Sexual Violence, Title IX Compliance, February 6, 2017 (available at

https://news.syr.edu/2017/02/university-faculty-staff-receive-training-on-investigating-

complaints-of-sexual-violence-title-ix-compliance/). On information and belief, Investigator

Jacobson and others were influenced by and adopted these techniques prior to January 2017 and

applied them to John Doe and RP at every stage in the investigation.

       91.     On information and belief, Syracuse provides training in an amateur and

unprofessional manner to individuals with no proper education, degree, or specialized

background in counseling and therapy, which is further indication of Defendants’ willingness

and desire to bias investigation and hearing processes from their inception.

       92.     As implemented at Syracuse and applied to RP and John Doe, “trauma-informed”

techniques are not gender neutral. Trauma informed techniques have been openly and clearly

identified by the OCR and New York State law as techniques specifically utilized to protect

“girls and women.” See https://www.nasmhpd.org/sites/default/files/FedPartnersOCR.pdf. In

2014, the OCR mandated that all persons involved in implementing a school’s grievance

procedures should have training or experience in the effects of trauma. See e.g., OCR, April 29,

2014 Questions and Answers on Title IX and Sexual Violence at Answer E-2, I-1, J-1 (available

at https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf).

       93.     Syracuse has implemented the trauma-informed approach despite the lack of solid

scientific support for this method in assessing the testimony of victims. See e.g., Emily Yoffe,

The Bad Science Behind Campus Response to Sexual Assault, The Atlantic, September 8, 2017




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(available at https://www.theatlantic.com/education/archive/2017/09/the-bad-science-behind-

campus-response-to-sexual-assault/539211/).

       94.     Syracuse also freely applies this technique in the absence of credible, clinical

diagnosis of trauma and without first determining if there is a history of other trauma that may be

influencing the alleged victim’s report of a given incident—trauma independent of and without

any connection to the accused student.

       95.     Neither Investigator Jacobson, nor any other Title IX administrator or hearing

officer on Syracuse’s campus, is trained to recognize or diagnose trauma, trauma history, or

other potential mental health issues that may be present at the report of an incident. Not one

member of the Appeals Board that heard John Doe’s case had the training necessary to verify

symptoms of actual trauma. Syracuse applies “trauma-informed” techniques to any alleged

female victims, whether or not they have experienced verifiable trauma.

       96.     This was the case with RP. These techniques were freely applied to RP despite

the absence of any clinical determination of whether, in fact, RP suffered trauma. RP never went

to the hospital to seek treatment for trauma and, in one interview with the SPD, she admitted the

opposite: saying she “was not fearful or upset” by John Doe. Additionally, not one investigator,

counselor or professional was asked if there was evidence of past trauma, mental health issues or

pressure from Syracuse personnel that would cause RP to make an incident report. By utilizing

the “trauma informed” technique, the investigation was tainted.

       97.     Syracuse applies “trauma-informed” techniques with bias against accused male

students. There was, for example, significant, undisputed evidence that John Doe experience

trauma due to his and RP’s transgression of their Christian morals, due to his betrayal of his

girlfriend, and due to sincere feelings of disappointment and disbelief that he and RP had



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consensually participated in premarital sex. John Doe sought professional assistance and support

throughout the fall of 2016 in order to deal with his actions during this time. But Investigator

Jacobson and Syracuse’s other administrators had no interest in the effect of the events on his

well-being. The investigator and hearing officers failed to apply “trauma-informed” techniques

to John Doe as the alleged male perpetrator, when, in fact, he could well have been the

traumatized person.

       98.     Furthermore, RP’s allegations that she had been shocked or experienced trauma

are among the most inconsistent statements she made about her sexual encounters with John

Doe. In her various accounts, she alleged being “shocked” and experiencing “trauma” only late

in the process. This “shock” and alleged “trauma” surfaced only after her statements had been

shaped by Investigator Jacobson and other Syracuse Title IX administrators. On information and

belief, RP never sought medical attention or the care of a treating professional for alleged

trauma, and she was never diagnosed with any trauma. This information and belief is based on

the fact that neither she nor Syracuse provided any evidence of such during the Hearing or on

appeal. None was ever brought forward. As with all else in the case, Syracuse uncritically (and

selectively) credited RP’s inconsistent statements.

       99.     Syracuse takes it as an article of faith that women who allege sexual assault have

been, de facto, traumatized. Inconsistencies in victim accounts then serve to confirm what the

“trauma-informed” method assumes—namely, trauma and therefore, guilt imposed upon the

alleged perpetrator. By the time Syracuse’s Hearing Board made its decision on May 5, 2017, it

had concluded, in the absence of any credible evidence, testimony, or expert witnesses that, “this

incident has caused the Complainant [RP] significant trauma…”

   D. RP Reports Contradictory Accounts of a Sexual Assault Encounter with John Doe

       100.    RP’s allegations of sexual assault went through several permutations.
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   1) RP’s Account of the Encounter on November 15, 2016

       101.    On or around November 15, 2016, RP discussed her sexual encounters with a

Syracuse professor whom Syracuse has declined to identify. On information and belief, the

Syracuse professor, reacting to pressure and social movements within Syracuse to increase the

prosecution of men and reform so-called “rape culture,” encouraged RP to rethink the consensual

events of November 13, 2016 as non-consensual. RP was encouraged to understand her moral

discomfort, which grew out of her Christian morals and her conflict over her virginity, through

the lens of a passive female victim and see John Doe as a male sexual aggressor.

       102.    Syracuse’s investigation did not investigate what the professor said or how RP’s

account to the professor differed from her other accounts of the events. John Doe was not

provided the opportunity to find out what the professor said, let alone cross examine. John Doe

could not determine whether or not RP’s statements to the professor were consistent with her

(contradictory) reports to others.

       103.    Additional evidence that would assist in the investigation was also destroyed by

RP. At this time, she deleted all of her text messages between John Doe and herself, eliminating

evidence of their consensual contact and communications.

       104.    RP reported a “sexual assault” to the Syracuse Department of Public Safety

(“DPS”), Officer Matthew Zingaro at approximately 3:12 PM on November 15, 2016. Officer

Zingaro referred the matter to the Syracuse Police Department.

       105.    Approximately four hours later at 7:00 p.m., Syracuse Police Officer Marlena

Jackson of the Criminal Investigation Division interviewed RP in Syracuse’s Sims Hall. RP told

Officer Jackson that she “did not wish to have any physical contact with [John Doe] on the

reported date/time and did not consent to having any sexual relations with” John Doe on



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November 13, 2016 (emph. added). She did admit, however, that “past incidents were

consensual.”

       106.    Thus, RP first insisted that there was no consensual sexual contact of any kind

during their third sexual encounter, about which she later flip-flopped and retracted with regard

to certain sexual behavior. She later changed elements of her story as she spoke with SPD

detectives, Investigator Jacobson, and others.

       107.    Importantly, Officer Jackson made no record that RP reported trauma, nor did the

Officer note any observations of RP’s alleged trauma. RP did not seek medical attention, nor did

the Officer report having recommended she seek medical attention. RP did not report any

physical, emotional or other means of force or influence used by John Doe that could have kept

her at his residence. She did not report intimidation of any kind. At no time did she suggest that

she had not been at liberty to leave the apartment.

       2) RP’s Account of December 6, 2016

       108.    Three weeks later (December 6, 2016), RP gave a second, more extensive account

to Officer Michael Murphy of the SPD’s Abused Persons Unit. Officer Murphy interviewed her

at the McMahon/Ryan Child Advocacy Center in Syracuse. This time, RP addressed her

struggle with her religious beliefs and betraying her boyfriend by having “hookups” with John

Doe. She also knew that John Doe was in a relationship with another woman and felt guilty

about that too. She knew the other woman because they went to the same private high school

together in Connecticut. RP discussed her Christian faith with candor, explaining her desire to

follow Christian teachings, which “included abstaining from sexual intercourse until marriage.”

       109.    She told Officer Murphy that a “hand job” and “fingering” was “as far as things

had ever gone with [John Doe] during any of their consensual encounters.” Thus she denied



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having had mutual oral sex or attempting vaginal intercourse before November 13, 2016. This

highlights another part of her story that would change in later reports.

       110.    In recounting the events of November 13, 2016, RP changed her initial account

and report to Officer Jackson on November 15, 2016 and even changed her account in the course

of relating events to Officer Murphy. Previously she had insisted that nothing was consensual

during the third sexual encounter. She now “acknowledged kissing [John Doe] back.” Likewise,

although she first insisted to Officer Murphy that “fingering” and a “hand job” was “as far as

things had ever gone during any of their consensual encounters.” She then admitted to a

pregnancy scare over their second encounter (of October 24) because they had attempted vaginal

intercourse, but “her inexperience made penetration difficult.” She also flip-flopped and insisted

that the previous attempt at vaginal intercourse had been non-consensual.

       111.    She had first told Officer Jackson on November 15, 2016 as well as Officer

Murphy that “these previous instances had been consensual,” i.e. October 11 and 24, 2016.

Having admitted to previously consensually attempting vaginal intercourse in October, she

singled out this one element of their encounter to Officer Murphy (on December 16, 2016) and

said it was non-consensual.

       112.    With regard to their third sexual encounter, RP described no force, threats, or

coercion by alcohol or any other undue influence, bribery or physical or emotional manipulations

by John Doe. She avoided mention of mutual oral sex. She also described her participation in

their sex as passive: She “ended up with her clothes off” and “ended up on top of [John Doe] …

[and] remained on top of him for a few minutes.”

       113.    It is of great importance and consistent with her report to Officer Jackson, that RP

did not describe any trauma to herself in her report to Officer Murphy. She said merely that she



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“wasn’t ok with how the incident unfolded.” Had John Doe been afforded rights to cross

examine RP in a meaningful way, he could have exposed these and other statements as vague

and ambiguous and lacking in any credibility; but Syracuse denied him this right.

       114.    By contrast to her own emotional stability, RP described John Doe as an

“emotional mess” after their first “hook up.” John Doe became “emotional” because he was

unfaithful to his girlfriend and also because of their shared Christian morals and commitment to

not have premarital sex. When he eventually broke up with the other woman, RP related, John

Doe called her and cried on the telephone. John Doe expressed his upset after their second

“hook up” (October 24, 2016). He clearly identified and expressed his angst and difficulties with

their actions. Yet, in stark contrast, in her reports, she recounted no trauma and no emotional

upset as a result of any of the incidents.

       115.    RP concluded her second interview by stating that she did not want to see John

Doe prosecuted or punished or further investigated.

       116.    On December 9, 2016, the SPD completed a detailed interview with John Doe as

part of its investigation into the events of November 13, 2016.

       117.    Having completed their investigation and thoroughly reviewed the reports and

acting under their legal and ethical duties and responsibilities, the SPD closed any and all

criminal investigation.

       3) Investigator Jacobson of Syracuse’s Title IX Office Interviews RP

       118.    After the Syracuse Police Department closed its case, but still amidst campus

pressure and tension over the school’s supposed “rape culture,” Syracuse initiated its Title IX

complaint against John Doe on January 25, 2017, a full two months after the incident and initial

report, albeit the day after OCR attorneys came to campus to meet with students, faculty, and

administrators on campus.
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       119.    Investigator Jacobson interviewed RP the same day. He again interviewed RP on

April 3, 2017, a full three months after the first interview and a full six months after her initial

report. With investigator Jacobson, RP reverted to her account that the two sexual “hookups” in

October had been entirely consensual and dropped her allegation of any sexual assault before

November 13, 2016, this was another inconsistency in her reports from interview to interview.

Yet, Investigator Jacobson did not further investigate or question her about this inconsistency.

       120.    As to their third encounter, RP reverted to insisting that nothing was consensual

and that “she didn’t do anything that he could have interpreted as ‘yes.’” She gave no specific

answers about actions that clearly required at least some of her input or some affirmative act on

her part. She added, for example, she was “not sure how she got on his lap” when they moved to

his couch. For the first time, RP averred that she “was in shock.” Investigator Jacobson did not

inquire as to why she had not alleged being in “shock” before. RP did tell him, however, that she

had not gone to the hospital. She provided no evidence that she had been diagnosed or treated

for “trauma” of any kind.

       121.    Later in their interview, RP discussed oral sex, and related that this had been

consensual on November 13, 2016. RP “said that, ‘he wanted me to do oral on him’ he asked

‘can you help me?’ And she did.” Patterns of behavior can constitute cues of consent in sexual

activity, and the November 13, 2016 encounter was more or less a carbon copy of the first two.

But Investigator Jacobson did not inquire as to what made RP claim that she had become passive

and bereft of “choice,” or what distinguished their previous consensual oral sex from this sex act,

which she apparently felt to be nonconsensual.

   E. Syracuse’s Biased Investigation and Title IX Process

       122.    Syracuse has promulgated policies to address sexual misconduct as well as other

student conduct code violations. These include, among others, Syracuse’s Statement of Student
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Rights and Responsibilities (https://policies.syr.edu/policies/academic-rules-student-

responsibilities-and-services/statement-of-student-rights-and-responsibilities/); the Syracuse

Code of Student Conduct (https://policies.syr.edu/policies/academic-rules-student-

responsibilities-and-services/code-of-student-conduct/); Syracuse policy captioned Sexual

Harassment, Abuse, and Assault Prevention (“Title IX Policy”)

(https://policies.syr.edu/policies/university-governance-ethics-integrity-and-legal-

compliance/sexual-harassment-abuse-and-assault-prevention/); the Student Conduct System

Handbook (“Conduct System Handbook”)

(http://studentconduct.syr.edu/_documents/StudentConductSystemHandbook2017-2018.pdf);

and the policy entitled Sexual Activity, Non-Consensual

(https://policies.syr.edu/policies/university-governance-ethics-integrity-and-legal-

compliance/sexual-activity-non-consensual/).

        123.      Syracuse’s policies, including but not limited to those listed above, form binding

contractual obligations between Syracuse and its students upon Syracuse’s acceptance of the

students’ payment of tuition under New York law. Syracuse is contractually bound to follow its

own policies.

        124.      Syracuse’s Statement of Student Rights and Responsibilities

(https://policies.syr.edu/policies/academic-rules-student-responsibilities-and-services/statement-

of-student-rights-and-responsibilities/) guarantees “fundamental fairness”:

            Students have the right to fundamental fairness before formal disciplinary
            sanctions are imposed by the University for violations of the Code of Student
            Conduct-as provided in the published procedures of the University’s Student
            Conduct System or other official University publications. Students have the right
            to written notice and the opportunity for a hearing before any change in status is
            incurred for disciplinary reasons unless a significant threat to persons or property
            exists.

Id., ¶ 9.
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       125.    The Conduct System Handbook also provides a statement of student rights and

responsibilities with slightly different wording at Paragraph 9, captioned FUNDAMENTAL

FAIRNESS (emph. in orig.):

         Students have the right to written notice and the opportunity for a hearing before
         any change in status is incurred for disciplinary reasons unless a significant
         threat to persons or property exists. Students have the right to fundamental
         fairness before formal disciplinary sanctions are imposed by the University for
         violations of the Code of Student Conduct--as provided in the published
         procedures of the University’s Student Conduct System or other official
         University publications.

Id.
       126.    Syracuse promulgated its Title IX Policy and its Conduct System Handbook to

comply with the requirements of Title IX and other applicable laws, such as the Clery Act, 20

U.S.C. § 1092(f), and implementing regulations. Title IX Policy, § III.

       127.    Syracuse’s Title IX Policy provides “distinct procedures” for the investigation and

resolution of student complaints of sexual misconduct. Id., § V.A. And under the Clery Act,

Syracuse is required to report its Title IX Policy and the procedures set forth in the Conduct

System Handbook to the federal government. This must include procedures to insure rights of

the accused. See e.g., 34 C.F.R. 668.46(k)(2).

       128.    In contravention of federal regulations that require Syracuse to provide fair and

unbiased proceedings, Syracuse’ policies are overwhelmingly oriented toward encouraging

alleged victims to report sexual assault and to “believe” their accounts at the expense of due

process and the rights of the accused.

       129.    By way of example, Syracuse’s policy, Sexual Activity, Non-Consensual does not

address the rights of accused students at all. It states only, “Members of the University

community found to be in violation of this policy through the procedures and systems described

above shall be subject to sanctions, including suspension and permanent expulsion.” Id. It does


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not promise any protections or equitable treatment for the falsely accused or provide procedures

to protect the falsely accused. It only encourages alleged victims to bring forward their

complaints and promises them various protections, support, and services. Id.

       130.    Syracuse applies a preponderance of the evidence standard to cases of sexual

misconduct and does not apply formal rules of evidence. The Title IX Policy defines

“preponderance” as “evidence which is of greater weight or is more convincing than opposing

evidence such that it is ‘more likely than not’ that an act occurred.” Title IX Policy, § G.1.g. In

practice, however, Syracuse imposes a presumption of responsibility on the accused male

student, who must bear the burden of proving innocence rather than prevailing by a

preponderance of evidence.

       131.    The Title IX Policy provides that investigations will take no longer than 60

business days from the time a complaint is received, and that the decisional or adjudicatory stage

will take no longer than 15 calendar days from the start of the adjudicative or hearing process to

the time a decision is rendered. Id., § G.1.j. But the Conduct System Handbook, Part 10.21

Provides that the entire process will be concluded within 60 days of the original complaint,

“pending special circumstances.” There were no special circumstances in John Doe’s case, and

yet Syracuse failed to comply with these timelines.

       132.    Syracuse’s statements of “fundamental fairness” as well as specific promises set

forth in the Conduct System Handbook provide for Notice. In addition, Conduct System

Handbook, Part 10.15 provides that “The complainant and respondent will be notified

simultaneously in writing of the charges filed against the respondent.” Syracuse failed to

provide such notice to John Doe, who was never notified, and still to this day has not received

the complaint against him.



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       133.    Furthermore, 34 C.F.R. 688.46(k)(i)(B)(2-3) requires Syracuse to report

procedures for timely notice in advance of any meeting or hearing, including investigatory

interviews, and to provide all evidence and information that will be used during informal and

formal disciplinary meetings and hearings. Syracuse again failed to provide such notice or

evidence to John Doe in advance of meetings at which he was interviewed by Syracuse’s Title

IX investigators. John Doe was not provided with information used by investigators against him

in advance of these meetings. This deprived John Doe of the ability to know the evidence

Syracuse had collected against him.

       134.    John Doe has still not received a copy of the Complaint despite requesting his

student educational records twice from Syracuse under FERPA on May 12, 2017 and again in

March 2018. The complete disciplinary file provided to John Doe by Syracuse in response to his

FERPA requests contains no complaint. The only way that John Doe learned of the complaint

was through a single reference in the final investigation report, which merely lists the date

Syracuse originated the complaint: January 25, 2016—the day after OCR attorneys came to

Syracuse to encourage stepped up prosecution of alleged perpetrators.

       135.    Syracuse’s policy for issuing a No Contact Orders (“NCO”) is contained in its

Student Conduct System Handbook (the “Handbook,” available at

http://studentconduct.syr.edu/_documents/StudentConductSystemHandbook2017-2018.pdf).

The Handbook addresses NCOs in Part 4.

       136.    Part 4.5 allows for NCOs to be issued to the Department of Public Safety, the

Office of Residence Life, or the Title IX Coordinator. Id. NCOs may be issued when “there is

reason to believe that continued contact is not in the best interest of the involved students to

promote their safety and security.” Id. Part 4.7 states that “[i]f a No Contact Order is issued,



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both parties will receive a written copy of the Order and both parties are expected not to have

contact with one another.” Id.

   F. Syracuse Refuses to Follow its Own Rules and Policies

   1) The Secret No Contact Order

       137.    Syracuse breached its policies and Defendants highlighted their bias against John

Doe as demonstrated by the fact John Doe became aware of the Title IX Complaint against him

only inadvertently and with no notice from Syracuse. The first inkling of any administrative

action against him surfaced in the context of a secret NCO. Back in November 2016, when the

Syracuse DPS first received a report, DPS issued a No Contact Order (dated November 15, 2016,

the “November NCO”).

       138.    Syracuse issued the November NCO only against John Doe, and then violated its

procedure by failing to notify John Doe of its existence. In fact, Syracuse kept the November

NCO secret without informing John Doe or advising him of its existence in any manner. Nor did

Syracuse inform RP that it would keep the November NCO secret, opening the door to her

accusations that he was further violating Syracuse’s rules by contacting her.

       139.    Syracuse also violated its policies by failing to issue a symmetrical NCO

instructing RP to stay away from John Doe. This again highlights Syracuse’s bias, providing

further evidence of Syracuse’ position that only women must be protected from men. John Doe

had to bear the entire burden of staying away from the woman who had accused him, but she had

no obligation to stay away from him. And Syracuse placed this burden, expectation and restraint

on him without knowledge or notice.

       140.    John Doe learned about the existence of the November NCO over two weeks after

it was issued and at that time only by coincidence, not by actual notice.



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       141.    The November NCO came to light only because RP complained to the Syracuse

DPS on December 2, 2016 that John Doe had contacted her by voicemail the previous week (on

November 27, 2016)—a full week after the actual contact. RP admitted when she did finally

notify DPS of the voicemail that John Doe had not been inappropriate in any way. Furthermore,

RP stated to the DPS that she was not fearful or upset due to John Doe. Again there was not the

slightest evidence of trauma or shock.

       142.    At the time John Doe left RP a voicemail, he thought the issue was behind them.

There had been no further incidents between John Doe and RP since their third sexual encounter.

As John Doe knew, they had voluntarily resolved to stay away from each other physically in

order to contain their mutual physical urges and abide by their Christian values.

       143.    But because Syracuse issued the November NCO and kept it secret, RP believed

John Doe was violating Syracuse rules and had disobeyed the NCO. By keeping the NCO secret,

Syracuse caused John Doe inadvertently to aggravate RP, who blamed him for breaking the

rules, even though he could have had no idea he was breaking the rules. Syracuse had actually

created the offense.

       144.    Syracuse’s Office of Student Rights and Responsibilities informed John Doe of

the November NCO’s existence in an email of December 1, 2016. The office announced that it

had “reviewed the Temporary Order of No Contact [i.e., the November NCO] … and …

determined that it will remain in effect at this time”—although John Doe could not be aware of

the NCO in the first place.

       145.    The Office of Student Rights and Responsibilities did not make reference to any

outstanding Title IX Complaint. There was no complaint against John Doe at this time. There

was no need. RP admitted that she “was not fearful or upset” by John Doe and had not initiated



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a complaint. The SPD had closed its investigation. There had been no sexual assault because

John Doe and RP’s sex had been consensual.

         2) Syracuse Initiates the Title IX Complaint Against John Doe in Response to OCR
            Pressure to Increase the Prosecution of Male Students

         146.   On information and belief, and without any other apparent reason, Syracuse

decided to proceed with a complaint against John Doe in response to the presence of OCR

attorneys on campus and ongoing student, media, and government pressure to confront a

supposed “rape culture” at Syracuse. Syracuse initiated its complaint on January 25, 2017, one

day after OCR’s attorneys arrived on campus on January 24, 2017 but over two months after the

report of the incident by RP. This was also over a month after the Syracuse Police Department

had closed its investigation.

         147.   Again, Syracuse initiated its complaint and investigation only two and a half

months after the alleged incidents of November 13, 2016 were reported to Syracuse. With

attorneys from OCR still on campus and holding meetings, Syracuse decided to make John Doe

an example of Title IX enforcement.

         148.   Syracuse initiated the investigation under Investigator Jacobson of Equal

Opportunity, Inclusion, & Resolution Services. Investigator Jacobsen interviewed RP the same

day (January 25, 2017) on which he dated Syracuse’s “complaint.”

         149.   Despite Syracuse’s belated rush to action, Investigator Jacobson did not complete

the Investigation Report (“Jacobson Report”) until over two and a half months later, April 17,

2017.

         150.   The Jacobson Report summarizes two interviews with RP of January 25, 2017

and April 3, 2017 as well as the statement that John Doe made to Detective James Hill of the




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Syracuse DPS on March 15, 2017. In addition, Investigator Jacobson appended the SPD’s police

reports of interviews with RP and John Doe.

       151.       Investigator Jacobson failed to scrutinize contradictions between RP’s various

statements or consider RP’s destruction of text messages and other evidence in weighing her

credibility. In particular, there was no credible evidence of trauma, particularly no clinical

evidence. The most that RP stated is that she “most likely” felt shock.

       152.       According to Syracuse’s Title IX policies, Investigators are not supposed to make

ultimate decisions or recommend decisions on responsibility or non-responsibility. Their role, as

set forth in Part 10.13 of the Conduct System Handbook, is to describe relevant facts and

circumstances and to provide statements of the interviews conducted during the investigation.

The investigator’s report “will not include any conclusions regarding responsibility for violations

of the Code of Student Conduct.” Id.

       153.       Investigator Jacobson made the following factual findings:

                  Both RP and John Doe corroborated each other’s account of their
                   interactions over the course of the fall semester, including their first two
                   consensual sexual encounters.

                  There were no third-party witnesses to the events of their third encounter
                   of November 13, 2016.

                  Both RP and John Doe gave “highly corroborative accounts” of the third
                   sexual encounter of November 13, 2016.

                  There were no “third party witnesses or objective evidence … to bolster
                   one account over the other.”

The case therefore came down to RP’s say-so versus John Doe’s account of events.

       154.       Any assessment on credibility was therefore an ultimate decision on the case. It

created a preference for one party’s account over the other. It became, de facto, a dispositive

prejudgment of John Doe’s case. Investigator Jacobson should not have been permitted to make


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such an assessment, given that his role was merely to report facts, not to decide the case. And he

certainly should not have made such an assessment without any substantial evidence.

       155.    Investigator Jacobson nevertheless provided an affirmative credibility assessment

in section V of the Jacobson Report, which clearly advocated for the female victim.

       156.    He discussed RP’s “credibility” over three paragraphs and inexplicably

concluded, “Complainant [RP] is assessed as credible and the information she provides is

reliable.” Yet again, he failed to address and consider the fact that she rendered multiple

versions of events and interactions with John Doe.

       157.    Investigator Jacobson disregarded and gave no account of inconsistencies in RP’s

statements, in particular RP’s vacillation about sexual contact on November 13, 2016 to which

she had consented after claiming that no sexual contact had been consensual on that day. He

also gave no account of RP’s vacillation about attempted vaginal sex prior to November 13,

2016, in which she had accused John Doe of another sexual assault to SPD officer Murphy,

contradicting clear statements that the prior two sexual encounters had been consensual.

       158.    Investigator Jacobson then gave only cursory treatment to John Doe’s consistent

accounts in three sentences:

         Respondent provided a description of events, which was also entirely plausible.
         His demeanor during the interview was appropriate. The respondent spoke freely
         and was not hesitant when providing details regarding the complaint. The
         respondent became upset as to why this complaint was filed.

       159.    Having emphasized RP’s “credibility” as a female victim, Investigator Jacobson

assessed the male accused student as only “plausible.” He gave no reason to withhold an

assessment of “credible” from John Doe—whose accounts were consistent. Investigator

Jacobson prejudged John Doe by withholding the all-important assessment that John Doe was

“credible.”


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       160.    Furthermore, Investigator Jacobson had no grounds to pass judgment on John

Doe’s credibility because he did not interview John Doe or observe his demeanor. John Doe had

been interviewed by a detective and provided a written statement.

       161.    Given that the case came down solely to the credibility of the parties, without

external objective evidence or witnesses, Investigator Jacobson saddled John Doe with a finding

of responsibility completely untethered from objective reasons, external evidence, or

observation. Investigator Jacobson’s finding of credibility and, therefore, Syracuse’s finding of

credibility was made without application of the preponderance standard, as required by Syracuse

policies. See e.g., Conduct System Handbook, Part 10.17, Title IX Policy, § G.1.g.

       162.    Investigator Jacobson’s unusual and protracted delay of his investigation also

breached Syracuse’s Title IX Policy and Conduct System Handbook. Syracuse’s contractual

agreement through its Conduct System Handbook promises students that Syracuse’s Title IX

office will complete investigations and render conduct code decisions (including a hearing)

within 60 days. See Conduct System Handbook, Part 10.21. If the process is delayed, both

parties must be sent written notification of the delay and its cause. Id.

       163.    Syracuse initiated its investigation and its complaint only on January 25, 2017, the

day after OCR attorneys came to campus. Up to that time, Syracuse had taken no action since

November 15, 2016, the date the matter was reported to them. Even after the belated January 25,

2016 complaint, however, Syracuse’s Title IX office did not interview John Doe until March 15,

2017. This was a full 49 days after an already delayed response to RP’s incident report.

Investigator Jacobson then delayed producing his report for more than a month, releasing it April

17, 2017. This was 82 days from the date of the Syracuse Complaint and a full six months from

the time the matter was first reported to Syracuse.



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       164.    Maximizing the prejudice to John Doe, the Jacobson Report was also timed

within the closing weeks of the spring semester, when John Doe was only one course short of

graduation with his Masters degree. Yet, John Doe never received any written explanation or

notice for Syracuse’s delay, contrary to and in violation of Syracuse’s Conduct System

Handbook, Part 10.21.

       165.    John Doe’s hearing was not scheduled until May 5, 2017, the first day of his

finals week. This marked a full 101 days, and Syracuse did not notify John Doe of its decision to

expel him until six days after that. In fact, John Doe spent additional tuition for Spring Semester,

valuable time and effort to complete his Masters Program—all for naught. Syracuse’s

unreasonable delay, violation of Title IX, violation of its own Policies and Procedures as

embodied, without limitation, in the Conduct System Handbook prejudiced John Doe financially,

emotionally, educationally, and vocationally.

   G. The University Conduct Board Hearing

       166.    John Doe received the first and only notice from Syracuse on April 28, 2017

(“Notice”). The Notice formally informed John Doe of the formal charges brought by Syracuse:

         1) Physical harm or threat of physical harm to any person or persons, including
         but not limited to: assault, sexual abuse, or other forms of physical abuse.

         3) Conduct— whether physical, verbal or electronic, oral, written or video—
         which threatens the mental health, physical health, or safety of any person or
         persons including, but not limited to hazing, drug or alcohol abuse, bullying or
         other forms of destructive behavior.

         15) Violation of University policies, rules or regulations that are published in
         the Student Handbook, or other official University publications or agreements.

                   Syracuse University Policy on Sexual Assault, Sexual Harassment,
                    Stalking or Relationship Violence

       167.    The Notice represented that the “primary purpose of the University Conduct

System is to educate and protect all members of the University community. Sanctions, if

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imposed, are designed to accomplish these goals.” They are not and should not “be primarily

punitive in nature.”

       168.    The Hearing took place on May 5, 2017 before a panel of three career

administrators: Chair, Carrie Grogan Abbott (who had taken part in the censorship and closure of

HillTV without due process), Director of Syracuse’s Office of First-Year and Transfer Programs;

Bill Longcore, Associate Director of Syracuse’s Central Office and Administrative Staff; and

Casey Morris, Senior Supervisor of Syracuse’s Facilities and Technical Services (the “Board”).

       169.    The findings of the Board were internally contradictory: The Board followed

Investigator Jacobson’s findings and found RP credible; but at the same time, the Board

expressly found that RP made multiple untrue statements about her sex with John Doe.

       170.    The Board expressly indicated that RP had misrepresented consensual sexual

activity as nonconsensual. RP’s accounts had vacillated between insisting that portions of her

sexual encounter on November 13, 2016 with John Doe were consensual and insisting that

nothing about their sexual activity that day was consensual.

       171.    The Board specifically found that RP was not credible in stating that she had

consented to no sexual activity on November 13, 2016. The Board found that John Doe carried

Complainant to his bedroom (Fact #6), which RP had insisted was against her will, but the Board

did not find this credible. The Board instead found that RP and John Doe continued consensual

kissing (Fact #7).

       172.    The Board found that RP “withdrew consent” once the couple entered the

bedroom, although the Board found that John Doe respected RP and had “stopped the

interaction.” (Fact #8.) After that point, the Board considered consent permanently and

irrevocably withdrawn—without, however, making any findings as to how John Doe somehow



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forced RP to position herself on top of him or forced, physically, emotionally, or otherwise, her

mouth onto his penis, activities ordinarily requiring the active participation of the individual

performing the acts.

       173.     The Board determined that John Doe lacked credibility simply because he

admitted to 1) having sexual desire for RP, and 2) admitted to being “horny” during their

interactions.

       174.     Applying archaic stereotypes of male sexual desire, the Board took John Doe’s

admission of being “horny” as evidence that he could not credibly deny sexually assaulting RP.

The Board found “that [John Doe] premeditated these actions and had intent to engage in sexual

contact and intercourse with the Complainant from the moment he saw her at church”—because

“[b]y [John Doe’s] own admission, when he saw her at church, he knew he wanted to have

sexual relations with her and knew that such acts would occur.” By this biased standard, any

confession by a male student of sexual desire counts as evidence of pre-meditated sexual assault.

       175.     It nevertheless conformed to the stereotype and archaic assumption that Syracuse

was beset by a male “rape culture” driven by uncontrollable male sexual desire, while female

students are its passive victims and targets. At no point did the Board question RP about her

desire for John Doe.

       176.     The Board discounted all statements by John Doe that he had repeatedly asked

and received express consent from RP and had received it.

       177.     The Board also held it against John Doe that their sexual encounter had started,

stopped, and began again. Undisputed evidence that John Doe had done the right thing by

ceasing sexual contact where RP said, “no,” was thus another piece of evidence Syracuse turned




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on its head. The Board held this to be evidence that no further affirmative consent was possible.

John Doe was simply damned if he did and damned if he didn’t.

       178.    The Board also credited RP’s account that she was “fearful of leaving” John

Doe’s apartment “prior to sexual contact,” which she alleged for the first time at the hearing.

The Board thus disregarded RP’s previous statement that she was not fearful or upset by John

Doe. The Board concluded that the incident “caused [RP] significant trauma and is affecting her

mental well-being”—in the absence of any diagnosis, clinical evidence, or expert testimony and

contrary to RP’s own statements. By contrast, the Board ignored undisputed evidence of John

Doe’s mental anguish and trauma, which had caused him to call a counseling hotline twice.

       179.    “Trauma” averred by the alleged female victim was enough to justify

contradictions in her story. Undisputed trauma of the male student, however, did not make his

consistent story credible to the Board.

       180.    The Board gave no explanation for its contradictory findings. It simply made the

blanket statement that RP was credible after expressly finding her to be untruthful in denying

consent to other sexual acts and in finding her to be untruthful about allegations of non-

consensual attempted vaginal intercourse on October 24, 2016.

       181.    On information and belief, RP gave additional contradictory testimony to the

Board. Syracuse did not permit John Doe to hear what RP said about him and thus denied any

meaningful opportunity for cross-examination. After the fact, John Doe was told he had to order

a transcript and pay for it, but even if he had done so this was no substitute for learning the

evidence against him at hearing or a chance to cross-examine RP. Syracuse continues to

withhold any record of RP’ is testimony to the Board, despite multiple FERPA requests from

John Doe. The only conclusion is that Syracuse kept no record, and Syracuse made none.



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          182.    Although the Conduct System Handbook, Part 10.16 provides for written and

audio recorded transcripts of interviews conducted by the Board, the Board did not make such

recording. The absence of a recording also precluded any record to be reviewed on appeal as

provided by Syracuse’s Title IX Policy and Conduct System Handbook. Conduct System

Handbook, Part 12.

          183.    On or around May 11, 2017, John Doe timely submitted a notice that he intended

to appeal the Board’s decision. See id., Part 12.2. Syracuse provides for appeal on the following

grounds:

           a. New information not reasonably available at the time of the original hearing,
           the absence of which can be shown to have had a detrimental impact on the
           outcome of the hearing.

           b. Procedural error that can be shown to have had a detrimental impact on the
           outcome of the hearing.

           c. Errors in the interpretation of University policy so substantial as to deny either
           party a fair hearing.

           d. Grossly inappropriate sanction having no reasonable relationship to the
           charges.

Id., Part 12.3.

          184.    On May 16, 2017, John Doe timely submitted a 10-page appeal, which addressed

Syracuse’s specific grounds for appeal b, c, and d. RP submitted no response to this appeal.

          185.    The Syracuse appeals panel was composed of Chair Maria Lopez, Counselor in

Syracuse’s Student Support Services Program, and Jim Byrne, Assistant Dean of Student

Services, and Kevin Costello, Assistant Director, Budget and Operations of the Syracuse Office

of Student Activities. The panel considered John Doe’s detailed, 10-page submission for less

than 20 minutes before affirming the Board’s decision—without any record of the hearing to

review.


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       186.    The wrongful investigation and decision resulted in John Doe’s permanent

expulsion from Syracuse. He has been unable to complete his Masters degree in forensic science

and has a permanent mark on his transcript indicating a conduct code violation, which he must

disclose to any future university or employer to which he applies.

       187.    Without correcting and expunging his transcript, his career will suffer permanent

damage. His professional future has been permanently blighted. Syracuse has blocked his career

path in forensic science by erroneously labeling him a sex offender. He has been unable to enroll

in a new University to pursue graduate studies. John Doe has been forced to take jobs far below

the level he would have attained with his forensic science degree.

 V.    CAUSES OF ACTION

      COUNT 1: Gender Discrimination by Application of Archaic Assumptions
                                       Title IX
                                      (Syracuse)

       188.    Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

       189.    Title IX provides, in relevant part, that “[n]o person in the United States shall, on

the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.”

20 U.S.C. § 1681(a). All educational institutions that receive federal funding, as does Syracuse,

may be held liable under Title IX under a private right of action.

       190.    Syracuse applied archaic stereotypes of gender in presuming John Doe

“responsible” for sexual assault because he was a male and expressed sexual desire, which

Syracuse took as evidence of “rape culture” and sexual aggression. Syracuse applied archaic

sexual stereotypes to RP, as an alleged female victim, as the passive target of male desire.



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        191.     In the fall of 2016 and for years prior to the time in which John Doe became

involved with RP, Syracuse faced public pressure from students, from the media, and from

organs of state and federal government such as the OCR to reform a supposed campus “rape

culture.” Rape culture was attributed exclusively to men. There is no female “rape culture,” in

which women supposedly sexually assault men with impunity.

        192.     In or around 2016 and 2017, and prior to brining a complaint against John Doe,

Syracuse took active steps to increase the number of Title IX cases against male students.

Syracuse presumed male students responsible for sexual assault by virtue of archaic assumptions

about male sexual desire. Simultaneously, in practice and in violation of its own policies,

Syracuse relaxed the standards of evidence for alleged female victims and applied lax

investigatory techniques to accusing students. It also increased the sanctions imposed on male

students accused of sexual assault, which became punitive rather than educational, also in

violation of Syracuse policies and procedures.

        193.     Applying gender-biased techniques such as the so-called trauma-informed

interview, Investigator Jacobson and others assessed every inconsistency of the female student,

RP, as evidence that a sexual assault had actually taken place. Investigator Jacobson and

Syracuse took at face value RP’s changing and escalating statements that she had been in

“shock,” despite her earlier statements that she was neither fearful or upset by contact with John

Doe.

        194.     RP’s inconsistencies included:

               a. Alleging she had been traumatized and “in shock” only on January 25,
                  2017, after failing to mention this important fact in two previous
                  interviews (November 15, 2016 and December 6, 2016) and even
                  reporting that she was “not fearful or upset” by contact with John Doe to
                  the Syracuse Police (December 2, 2016). She then escalating her



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                 allegations and insisting that she had “been forced to live my life in a
                 constant state of fear” (April 24, 2017 response to Jacobson Report).

              b. Alleging first that no sex acts on November 13, 2016 had been
                 consensual (on November 15, 2016); but later admitting that she had
                 “kissed [John Doe] back” and “ended up on top of [John Doe] …
                 remain[ing] on top of him for a few minutes” (December 6, 2016).

              c. Alleging an attempted vaginal rape prior to November 13, 2016 despite
                 previously alleging that all prior acts had been consensual.

              d. Alleging no facts consistent with John Doe’s forcing her to perform oral
                 sex on him.

              e. Alleging no facts consistent with John Doe’s forcing her to be on top of
                 him (she alleged only that “she found herself on top of” John Doe).

Nevertheless, Investigator Jacobsen and the Jacobson Report assessed RP as “credible and the

information she provides is reliable” (without applying a preponderance of the evidence

standard). The Board followed this assessment.

       195.     Investigator Jacobson is a trained victims advocate, and he advocated for the

alleged victim, RP, rather than providing an unbiased report. By contrast, Syracuse handled John

Doe as a criminal from the start, subjecting him to interrogation by a trained detective, Officer

James Hill of the Syracuse DPS, to whom John Doe made a statement.

       196.     Notwithstanding this difference in treatment, John Doe’s account of events

remained consistent, despite giving two statements three months apart, one to the Syracuse

Police on December 16, 2016 and one to Detective Hill on March 15, 2017.

       197.     Yet Investigator Jacobson refused to assess John Doe as “credible.” Investigator

Jacobson signaled Syracuse’s pre-judgment of John Doe by withholding the crucial finding of

“credible” from him—despite never interviewing John Doe or observing his demeanor.

Investigator Jacobson had no basis for any such assessment other than John Doe’s written

statement.


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       198.    Despite an averred admiration for “trauma-informed” techniques, Syracuse,

including Investigator Jacobson and the Board, disregarded all undisputed evidence that John

Doe had experienced emotional trauma due to the events of November 13, 2016 (and his prior

sexual encounters with RP). John Doe’s emotional turmoil was due to his sincere and deeply

held Christian beliefs—which he and RP shared. Both RP and John Doe believed that they had

sinned by having consensual vaginal intercourse. Both believed that they had failed to contain

sinful urges outside of marriage. John Doe also experienced emotional trauma over cheating on

his previous girlfriend by “hooking up” with RP and twice called a counseling hotline to cope

with his trauma.

       199.    The only “trauma” that matters to Syracuse, however, is the trauma experienced

by the alleged female victim. That a male would experience trauma due to a sexual encounter

does not fit with the archaic sexual stereotypes of aggressive male “rape culture” and passive

female victimhood under which Syracuse operates.

       200.    It was also sufficient for Syracuse to find John Doe “responsible” for “pre-

meditated” sexual assault that he admitted to having sexual desire—despite no evidence of pre-

meditated sexual assault. This finding is also attributable to Syracuse’s archaic theories of “rape

culture” and passive female victimhood. The Syracuse Board questioned John Doe’s “sincerity”

that he received verbal consent because he had admitted to “his desire and expectation of sexual

contact.” By this archaic standard, any male student who has sexual desire for a female student

is presumptively responsible for sexual assault.

       201.    Syracuse has discriminated against John Doe on the basis of his gender as a male

student by applying archaic assumptions of gender and is liable under Title IX.




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       202.    As a direct result of John Doe’s expulsion due to Syracuse’s erroneous and biased

proceedings, he has sustained damages. Syracuse has forestalled the completion of his Masters

in Forensic Science, which he was one course away from completing in spring 2016. John Doe

has suffered emotional distress, psychological damage, loss of income, forfeited tuition and fees,

reputational damage, diminished career opportunities, and other direct and consequential

damages in an amount to be determined at trial.

       203.    John Doe is entitled to recovery of all direct and indirect damages, post-and

prejudgment interest, reasonable attorney’s fees and costs.

                     COUNT 2: Erroneous Outcome under Title IX
                                       (Syracuse)

       204.    Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

       205.    Title IX provides, in relevant part, that “[n]o person in the United States shall, on

the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.”

20 U.S.C. § 1681(a). All educational institutions that receive federal funding, as does Syracuse,

may be held liable under Title IX under a private right of action.

       206.    Under regulations promulgated by the federal government to implement Title IX,

all institutions of higher learning that receive federal funding must implement procedures for the

prompt and equitable resolution of complaints of sexual discrimination, including but not limited

to sexual harassment, sexual assault, stalking, and intimate partner violence. See e.g., 34 C.F.R.

§ 688.46; 34 C.F.R. § 106; 34 C.F.R. § 54.

       207.    Syracuse sets forth its policies for the implementation of Title IX to conform to

federal law and regulations in its handbooks, websites, and policies, including, among others, its


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Title IX Policy, Conduct System Handbook, Statement of Student Rights, and Sexual

Harassment, Abuse, and Assault Prevention.

       208.     Syracuse expressly promises students subject to its disciplinary proceedings under

Title IX that they shall receive “FUNDAMENTAL UNFAIRNESS.” See e.g., Statement of

Student Rights and Responsibilities, ¶ 9. Under Syracuse’s policies, “fundamental fairness”

includes adequate written notice.

       209.     In violation of federal law and regulations as well as in violation of its own

policies and procedures, Defendants failed to provide John Doe with fair, prompt, or equitable

proceedings in response to a complaint of sexual misconduct.

       210.     Defendants failed, among other things, to provide the following:

              a. Provide John Doe with sufficient notice of the charges against him. John
                 Doe received notice of the charges against him only in the April 17, 2017
                 Jacobson Report. John Doe has never received a copy of the Title IX
                 complaint against him.

              b. Provide John Doe with all evidence that would be considered against
                 him.

              c. Provide prompt proceedings. Syracuse dragged out its proceedings
                 against John Doe through May 2017, seven months after Syracuse’s
                 received notification of allegations of sexual assault raised by RP (first
                 made November 15, 2016).

              d. Provide a hearing before an unbiased decision maker. Syracuse provided
                 biased proceedings guided by selectively applied “trauma-informed”
                 techniques, archaic stereotypes of male sexual desire and passive female
                 victimhood.

              e. Application of the preponderance standard of evidence.            Syracuse
                 presumed John Doe responsible.

       211.     John Doe’s case came down to his account of events against the say-so of his

accuser, RP. In finding John Doe responsible, Defendants acted on bias against him by, among

other acts and omissions, the following:


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     a. Defendants accepted the female accusing student’s (RP’s) account of
        events at face value, despite obvious inconsistencies and refused to credit
        John Doe’ consistent account of events.

     b. Investigator Jacobson applied a biased theory of “trauma informed”
        interviews, of which he has expressed enthusiasm on LinkedIn among
        other venues. As practiced by Investigator Jacobsen, inconsistencies in
        the accounts of alleged female victims evince credibility due to
        “trauma,” whereas consistency in the accounts of male accused students
        become evidence of the opposite and discredit the male students.
        Investigator Jacobson applied “trauma-informed” techniques despite the
        absence of any credible evidence that RP experienced trauma. Despite
        undisputed evidence that John Doe experienced trauma, Investigator
        Jacobson refused to assess John Doe’s account of events as “credible,”
        because he does not apply “trauma informed” techniques to accused
        male students. Trauma could not enhance John Doe’s credibility, only
        RP’s, despite her admissions that she was neither fearful or upset by
        contact with John Doe.

     c. Investigator Jacobson did not assess John Doe’s consistent testimony as
        “credible” in the Jacobson Report, but had no basis for doing so because
        he did not interview John Doe personally or observe his demeanor.

     d. On information and belief, Investigator Jacobson, does not assess
        accused male students as “credible,” but will give the assessment of
        “credible” only to alleged female victims.

     e. Syracuse’s Board expressly found that RP had not been truthful in
        denying any and all consent to sexual contact with John Doe on
        November 13, 2016. The Board found, among other things, that RP had
        in fact consented to going with John Doe to his apartment, kissing and
        “making out” with John Doe, and being carried to the bedroom for
        further kissing.

     f. The Board also rejected RP’s accusation that John Doe attempted vaginal rape
        prior to November 13, 2016.

     g. Defendants demonstrated gender bias toward John Doe in weighing
        evidence of his sexual desire as evidence of sexual assault. John Doe
        admitted to feelings of desire for RP but expressly denied acting on that
        desire without her express consent. Yet the Board employed archaic
        assumptions and stereotypes of uncontrollable male sexuality and
        counted John Doe’s frank admission of sexual desire as evidence of
        premeditated sexual assault. This archaic assumption was part and
        parcel of Syracuse’s ongoing activism against supposed male “rape
        culture.” Syracuse never asked RP about her sexual desire for John Doe,
        neither through Investigator Jacobson or through the Board.

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              h. Defendants’ erroneous and unsupportable decision to find John Doe
                 responsible for sexual assault occurred at a time when the OCR was
                 investigating Syracuse for alleged failures to adequately address female
                 students’ complaints of sexual misconduct. Syracuse initiated the
                 complaint against John Doe only on January 25, 2017, the day after OCR
                 came to campus to investigate Syracuse—after doing nothing for over
                 two months. Then Syracuse launched its complaint and investigation
                 without providing notice to John Doe.

              i. Syracuse’s erroneous decision to find John Doe responsible for sexual
                 assault came in direct response to public pressure in the media and from
                 within its student body to address a supposed “rape culture” on campus,
                 exclusively associated with male students. There is no female “rape
                 culture,” a concept that never comes up at Syracuse.

       212.     Syracuse has demonstrated a pattern of inherent and systematic gender bias and

discrimination against male students accused of sexual misconduct that has contributed to its

procedural errors.

       213.     Syracuse procedural errors, gender bias, and discriminatory investigation and

hearing led to an erroneous outcome when John Doe was found responsible and expelled.

       214.     As a direct result of John Doe’s expulsion as a sanction for Syracuse’s erroneous

and biased proceedings, he has sustained damages. Syracuse has forestalled the completion of

his Masters in Forensic Science, which he was one course away from completing in the spring of

2017. John Doe has suffered emotional distress, psychological damage, loss of income, forfeited

tuition and fees, reputational damage, diminished career opportunities, and other direct and

consequential damages in an amount to be determined at trial.

       215.     John Doe is entitled to recovery of all direct and indirect damages, post-and

prejudgment interest, reasonable attorney’s fees and costs.

                     COUNT 3: Selective Enforcement under Title IX
                                          (Syracuse)

       216.     Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

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       217.    Title IX provides, in relevant part, that “[n]o person in the United States shall, on

the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.”

20 U.S.C. § 1681(a). All educational institutions that receive federal funding, as does Syracuse,

may be held liable under Title IX under a private right of action.

       218.    Syracuse was encouraged by the OCR as well as public pressure to hire, among

others, Investigator Jacobson as a victim’s advocate rather than an unbiased, objective

investigator. Investigator Jacobson and others viewed their job as to support the perceived

vulnerability of women to Syracuse “rape culture.”

       219.    Syracuse adopted “trauma-informed” techniques in order to enhance the

credibility and lower the standards of evidence in order to find alleged female victims “credible.”

“Trauma-informed” techniques, as applied by Syracuse, undermine the credibility of and

increase the burden of proof imposed on accused male students.

       220.    As practiced by Syracuse, and in particular by Investigator Jacobson and the

hearing Board that heard John Doe’s case, it is only the alleged “trauma” of female students that

requires “trauma-informed” techniques. There is no “trauma-informed” approach to the

emotional turmoil and anguish of accused male students like John Doe.

       221.    “Trauma-informed” techniques as applied at Syracuse convert inconsistencies in

statements by alleged victims into evidence of credible victimization at the hands of male

perpetrators; whereas the techniques convert consistent testimony given by accused male

students into evidence of premeditated and practiced sexual assault.

       222.    John Doe experienced trauma due to the perception that he had sinned against his

deepest Christian values when he and RP had a consensual sexual relationship. But Syracuse



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selectively applies “trauma-informed” techniques and refused to credit John Doe’s account of

trauma—which was undisputed and also attested to by RP. By contrast, RP’s inconsistent

account of supposed trauma was credited by Syracuse due to no more than her say-so that she

“might have” experienced “shock.”

       223.    Syracuse selectively enforces its policies and procedures applicable to sexual

misconduct and Title IX by applying, without limitation, different standards of its “trauma-

informed” techniques to men and women, despite the fact that they are similarly situated. John

Doe and RP’s trauma, to the extent it existed, arose from the same events, but Syracuse weighed

only RP’s allegations of trauma as enhancing her credibility.

       224.    Because Syracuse selectively enforced its Title IX Policy against John Doe, he

was wrongfully found responsible and expelled.

       225.    As a direct result of John Doe’s expulsion as a sanction for Syracuse’s erroneous

and biased proceedings, he sustained damages. Syracuse has forestalled the completion of his

Masters in Forensic Science, which he was one course away from completing in the spring of

2017. John Doe has suffered emotional distress, psychological damage, loss of income, forfeited

tuition and fees, reputational damage, diminished career opportunities, and other direct and

consequential damages in an amount to be determined at trial.

       226.    John Doe is entitled to recovery of all direct and indirect damages, post-and

prejudgment interest, reasonable attorney’s fees and costs.

                       COUNT 4: Breach of Contract (Syracuse)

       227.    Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.




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       228.     Upon matriculating at Syracuse, John Doe entered into a contract with the

university comprised of the policies and procedures promulgated by Syracuse as applicable to all

students in exchange for their tuition. These policies included, without limitation, the following:

              a. Syracuse’ is Title IX Policy;

              b. Syracuse’s Conduct System Handbook;

              c. Syracuse’s Statement of Student Rights;

              d. Syracuse’s policy captioned “Sexual Harassment, Abuse, and Assault
                 Prevention”; and

              e. Syracuse’s policy captioned “Sexual Activity, Non-Consensual.”

       229.     These policies promised John Doe specific, enforceable rights, including but not

limited to the following:

              a. Notice of the charges and complaint filed against him. Conduct System
                 Handbook, Part 10.15, Bill of Rights, ¶ 4; Statement of Student Rights,
                 ¶ 9;

              b. The right to be notified of any no contact orders issued against him and
                 the right to be issued a copy in writing. Conduct System Handbook, Part
                 4.7, 4.8.

              c. The right to have no contact orders issued symmetrically, rather than in
                 a biased fashion such that the male accused student bears the entire
                 burden of abiding by the NCO. Conduct System Handbook, Part 4.7.

              d. The right to have Title IX proceedings conducted within 60 days of the
                 original complaint, pending only “special circumstances,” of which there
                 were none in this case. Conduct System Handbook, Part 10.21.

              e. The right to be notified in written form “if circumstances arise that
                 delay[] either the investigation or the Board’s determination of an
                 outcome … and its cause.” Id.

              f. The right to have sanctions imposed that are not disproportionate to the
                 student misconduct alleged, and which advance educational rather than
                 punitive goals. Conduct System Handbook, Part 11.1(a).

              g. The right to have Syracuse apply a preponderance of the evidence
                 standard rather than biased standards of evidence that privilege the


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                 statements of alleged female victims over those of accused male
                 students. Conduct System Handbook, Part 5.3.

       230.     Syracuse breached its contractual obligations to John Doe by failing to follow

each of its own policies enumerated above by, without limitation:

              a. Issuing an NCO to John Doe on November 15, 2017 but then keeping it
                 secret for over two weeks, causing further conflict between John Doe
                 and RP.

              b. Issuing a secret NCO to John Doe on November 15, 2017 without issuing
                 a symmetrical NCO to RP.

              c. Dragging out proceedings against John Doe for over seven months after
                 Syracuse first became aware of the allegations without any “special
                 circumstances” to justify the delay.

              d. Failing to provide sufficient notice to John Doe of the charges,
                 complaint, or evidence against him. The first Notice John Doe received
                 of the specific allegations against him was in the Jacobson Report of
                 April 17, 2017, at the end rather than the outset of Syracuse’s
                 inquisitorial proceedings.

              e. Failing to apply the preponderance standard and instead applying biased
                 evidentiary standards based in “trauma informed” techniques, among
                 others. Had the preponderance standard been applied in this “he said/she
                 said” case, where John Doe’s account was consistent but the accusing
                 student’s account was contradictory and motivated by conflicted feelings
                 of compromised religious faith and sexual insecurity in the loss of her
                 own and John Doe’s virginity, a finding of “not responsible” would have
                 been the only conceivable outcome.

              f. Failure to provide fair and unbiased proceedings in breach of Syracuse’s
                 express promise of fundamental fairness.

       231.     Syracuse’s breach of contract, motivated by discriminatory intent, was conscious,

willful, and deliberately disregarded Plaintiff John Doe’s interests.

       232.     Because of Syracuse breached contract by failing to follow its own policies, John

Doe has been damaged. Syracuse forestalled the completion of John Doe’s Masters in Forensic

Science, which he was one course away from completing in the spring of 2017. John Doe has

suffered emotional distress, psychological damage, loss of income, forfeited tuition and fees,

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reputational damage, diminished career opportunities, and other direct and consequential

damages, as well as punitive damages, in an amount to be determined at trial.

         COUNT 5: Breach of the Covenant of Good Faith and Fair Dealing
                                     (Syracuse)

       233.     Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

       234.     At all times relevant to this Complaint, a contractual relationship existed between

Syracuse and John Doe, as embodied in promises made to John Doe in Syracuse’s handbooks,

policy manuals, and websites. These policies included, without limitation, Syracuse’s Title IX

Policy, Syracuse’s Conduct System Handbook, Syracuse’s Statement of Student Rights, and

Syracuse’s policy captioned “Sexual Harassment, Abuse, and Assault Prevention.”

       235.     Syracuse’s contracts contained an implied covenant of good faith and fair dealing.

In particular, Syracuse implicitly guaranteed that any proceedings for student code of conduct

violations would be conducted with fundamental fairness.

       236.     Syracuse breached the implied covenant of good faith and fair dealing with John

Doe by, among other things, adjudicating a complaint of sexual misconduct against him with

bias, which resulted in his expulsion.

       237.     Syracuse’s unfair, bad faith adjudication included, among other things, the

following:

              a. Issuing an NCO to John Doe on November 15, 2017 but then keeping it
                 secret for over two weeks, causing further conflict between John Doe
                 and RP.

              b. Issuing a secret NCO to John Doe on November 15, 2017 without issuing
                 a symmetrical NCO to RP.

              c. Dragging out proceedings against John Doe for over seven months after
                 Syracuse first became aware of the allegations without any “special
                 circumstances” to justify the delay.

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                 d. Failing to provide sufficient notice to John Doe of the charges,
                    complaint, or evidence against him. The first Notice John Doe received
                    of the specific allegations against him was in the Jacobson Report of
                    April 17, 2017, at the end rather than the outset of Syracuse’s
                    inquisitorial proceedings.

                 e. Failing to apply the preponderance standard and instead applying biased
                    evidentiary standards based in “trauma informed” techniques, among
                    others. Had the preponderance standard been applied in this “he said/she
                    said” case, where John Doe’s account was consistent but the accusing
                    student’s account was contradictory and motivated by conflicted feelings
                    of compromised religious faith and sexual insecurity in the loss of her
                    own and John Doe’s virginity, a finding of “not responsible” would have
                    been the only conceivable outcome.

                 f. Failure to provide fair and unbiased proceedings in breach of Syracuse’s
                    express promise of fundamental fairness.

          238.     Syracuse knowingly, intentionally, and in bad faith acted on its bias against

accused male students by applying archaic stereotypes of male sexual desire, employing “trauma

informed” investigation techniques, failing to fully and fairly investigate allegations made by the

female accusing student, RP—instead considering her to be a passive female victim—in addition

to other discriminatory methods and proceedings that Syracuse applied to John Doe.

          239.     Syracuse’s breach of the covenant of good faith and fair dealing caused John Doe

damages, in an amount to be determined at trial, including but without limitation, emotional and

psychological harm, loss of educational and career opportunity, diminished income, reputation

damage, forfeited tuition and fees, and other direct and indirect damages.

          240.     John Doe is therefore entitled to recover his damages, including attorney fees and

costs.

                            COUNT 6: Negligence (All Defendants)

          241.     Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.



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       242.    Having put in place a student disciplinary process and promised students such as

John Doe fundamental fairness as well as due process protections embodied in the right to timely

notice and a fair hearing before unbiased decision makers, Syracuse adopted and owed a duty of

care to John Doe. Defendants owed a duty to John Doe to conduct its Title IX process with the

care and diligence of a reasonable institution in its position, including through the hiring,

training, and supervision of unbiased administrators.

       243.    This duty is also imposed by Federal law, including, among others, by Title IX

and the Clery Act and their implementing regulations.

       244.    Syracuse also adopted a duty through its accreditation under the Middle States

Commission on Higher Education, the accreditation standards of which require that Syracuse

commit itself to “policies and procedures [that] are fair and impartial, and assure that grievances

are addressed promptly, appropriately, and equitably.” See Standards for Accreditation and

Requirements of Affiliation, Thirteenth Edition.

       245.    Syracuse officials who directed and implemented that process within the scope of

their employment, such as but without limitation, Investigator Jacobson, Chief Title IX Officer

Johnson-Willis, Carrie Grogan Abbott, and others, owed John Doe the same duty of care.

Syracuse was directly responsible for their training and oversight. Chief Title IX Officer

Johnson-Willis was directly responsible for the training and oversight of Investigator Jacobson,

Carrie Grogan Abbott, and others. Syracuse is responsible for the negligence of those acting on

its behalf under the theory of respondeat superior.

       246.    The conduct of Syracuse in conducting an investigation fell below the applicable

standard for conducting investigations into, and adjudicating allegations of, sexual misconduct.

Chief Title IX Investigator Johnson-Willis and Investigator Jacobson were also negligent. They



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knew or should have known that the techniques of investigation and the biases applied through

Syracuse’s Title IX office fell below accepted standards of fundamental fairness as promised by

Syracuse. The investigation and proceedings against John Doe amounted to breaches of

Defendants duty of care.

       247.     Defendants’ negligent conduct included, but was not limited to:

              a. Issuing an NCO to John Doe on November 15, 2017 but then keeping it
                 secret for over two weeks, causing further conflict between John Doe
                 and RP.

              b. Issuing a secret NCO to John Doe on November 15, 2017 without issuing
                 a symmetrical NCO to RP.

              c. Dragging out proceedings against John Doe for over seven months after
                 Syracuse first became aware of the allegations without any “special
                 circumstances” to justify the delay.

              d. Failing to provide sufficient notice to John Doe of the charges,
                 complaint, or evidence against him. The first Notice John Doe received
                 of the specific allegations against him was in the Jacobson Report of
                 April 17, 2017, at the end rather than the outset of Syracuse’s
                 inquisitorial proceedings.

              e. Failing to apply the preponderance standard and instead applying biased
                 evidentiary standards based in “trauma informed” techniques, among
                 others. Had the preponderance standard been applied in this “he said/she
                 said” case, where John Doe’s account was consistent but the accusing
                 student’s account was contradictory and motivated by conflicted feelings
                 of compromised religious faith and sexual insecurity in the loss of her
                 own and John Doe’s virginity, a finding of “not responsible” would have
                 been the only conceivable outcome.

              f. Failure to provide fair and unbiased proceedings in breach of Syracuse’s
                 express promise of fundamental fairness.

       248.     Defendants, including the individual Defendants, breached their duty to John Doe

and proximately caused John Doe damages in the form of expulsion from Syracuse, emotional

and psychological harm, reputational damage, diminished educational and career opportunities,

lost income, and other direct and indirect damages.


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        249.    Defendants are therefore liable to John Doe for damages in an amount to be

determined at trial, including pre-and post-judgment interest, punitive damages, attorney’s fees,

and costs.

                     COUNT 7: Gross Negligence (All Defendants)

        250.    Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

        251.    Having adopted voluntarily or through statute the obligations to John Doe set

forth in Count 6, Defendants owed John Doe a duty.

        252.    Syracuse officials who directed and implemented the Title IX process within the

scope of their employment, such as but without limitation, Investigator Jacobson, Chief Title IX

Officer Johnson-Willis, Carrie Grogan Abbott, and others, owed John Doe the same duty of care.

Syracuse was directly responsible for their training and oversight. Chief Title IX Officer

Johnson-Willis was directly responsible for the training and oversight of Investigator Jacobson,

Carrie Grogan Abbott, and others. Syracuse is responsible for the negligence of those acting on

its behalf under the theory of respondeat superior.

        253.    Defendants breached their duty to John Doe as set forth, without limitation, in

Count 6 and proximately caused John Doe harm in the form of expulsion from Syracuse,

emotional and psychological harm, reputational damage, and other direct and indirect damages.

        254.    Defendants’ breach of duty was knowing and willful, in particular the application

of bias. Syracuse was motivated by discriminatory intent and acted with a conscious disregard

for John Doe’s rights or was so reckless in its treatment of John Doe so as to amount to such

disregard of his rights.




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       255.    Syracuse is therefore liable to John Doe for his damages in an amount to be

determined at trial, including pre-and post-judgment interest, punitive damages, attorney’s fees,

and costs.

              COUNT 8: Violation of John Doe’s Constitutional Right to
                Due Process under the New York State Constitution, Art. I, § 6
                                      (All Defendants)

       256.    Plaintiff restates, realleges, and incorporates by reference all allegations set forth

in every preceding paragraph as if set forth in this paragraph in full.

       257.    Under the New York State Constitution, Art. I, § 6 (Bill of Rights), John Doe may

not be deprived of life, liberty or property without due process of law.

       258.    On July 7, 2015, New York State Governor Andrew Cuomo signed into law

Education Law Article 129-B (“Art. 129-B”), commonly known as “Enough is Enough,” which

became effective on October 5, 2015. See NY Educ. L. § 6438 et seq. By enacting Art. 129-B,

New York State significantly involved itself and become a meaningful participant in the

otherwise private conduct of private universities such as Syracuse.

       259.    Art. 129-B applies to all public and private institutions of higher education in the

State of New York. It mandates that all such institutions adopt certain rules and procedures in

connection with their sexual misconduct policies.

       260.    Under public, governmental pressure to address the supposed “rape culture” of

Syracuse’s male student body, Syracuse Chancellor Kent Syverud adopted the “Enough is

Enough” legislation in summer 2015, making him the first head of a private university to do so.

       261.    On August 30, 2015, Chancellor Syverud stated that he was “proud that Syracuse

University was the first private university in New York State to endorse ‘Enough is Enough,’ and

that he [was] pleased with the progress the community has made in recent years.” (See ‘Enough

is Enough’ affects SU’s sexual assault policy, changes definition of consent, Daily Orange
                                                 65
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(August 30, 2015) (available at http://dailyorange.com/2015/08/enough-is-enough-affects-sus-

sexual-assault-policy-changes-definition-of-consent/)).

       262.    Katelyn Cowen, Syracuse’s director of the Office of Health Promotion, also stated

that “Enough is Enough has changed expectations” at Syracuse. Id.

       263.    Thus, Syracuse demonstrated zeal in becoming the agent of Art. 129-B’s

implementation in many ways, including without limitation through Kevin Quinn, Senior Vice

President for Public Affairs. Senior Vice President Quinn told the Daily Orange, “We are very

pleased that it was passed by the Legislature and will become law.” Id.

       264.    Syracuse and its agents and employees have become state actors in the

implementation of Syracuse’s Title IX policies and procedures.

       265.    As a direct result of Defendants’ actions, including but not limited to expelling

John Doe, which they undertook under the color of state law, John Doe lost his protected liberty

interest in his good name, reputation, honor, and integrity. John Doe lost his property interest in

the education he had paid for in the Forensic Science program at Syracuse.

       266.    By mandate of New York law, John Doe’s Syracuse transcript now permanently

reflects that he was expelled for a code of conduct violation which has blighted John Doe’s

chances of continuing his education. John Doe has been unable to continue and complete his

graduate education to the present day.

       267.    Syracuse deprived John Doe of his liberty interests and property interests in his

education, causing him both reputational harm, and causing him direct and indirect damages

without due process of law.

       268.    Among Syracuse’s due process violations, Syracuse failed to timely notify John

Doe of the charges against him, failed to permit him to present witnesses in his defense, and



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failed to provide him with an unbiased hearing and denied him meaningful cross examination or

to hear the evidence against him.

       269.      John Doe is entitled to damages in an amount to be determined at trial, plus pre-

and post-judgment interest, attorney’s fees and costs.


                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff John Doe prays that this Honorable Court grant the following relief:

            i.    Declare Defendants Syracuse University and Syracuse Board of Trustees
                  liable for discrimination against Plaintiff John Doe on the basis of sex in
                  violation of Title IX, 20 U.S.C. 1681, et seq.;

          ii.     Declare Defendants Syracuse University and Syracuse Board of Trustees
                  in breach of its contract with Plaintiff John Doe, in breach of the implied
                  covenant of good faith and fair dealing;

          iii.    Declare all Defendants negligent in their investigation of code of conduct
                  complaint and in their expulsion of Plaintiff John Doe;

          iv.     Declare all Defendants in violation of the Constitution of the State of
                  New York, Art. Art. I, § 6 due to the deprivation of Plaintiff John Doe’s
                  liberty and property interests without due process of law;

           v.     Order Defendants to pay John Doe all direct and indirect damages caused
                  by their statutory violation of Title IX, breaches of contract, negligence
                  and gross negligence, and violation of Plaintiff John Doe’s constitutional
                  rights;

          vi.     Order Defendants Syracuse University and Syracuse Board of Trustees
                  to expunge Plaintiff John Doe’s transcript and university record of any
                  reference to the wrongful expulsion and finding of “responsibility” for
                  sexual misconduct;

         vii.     Order Defendants to pay punitive damages for willful disregard of the
                  rights of John Doe;

        viii.     Order Defendants to pay John Doe’s reasonable attorney fees and costs
                  under 42 U.S.C. § 1988(b) and other applicable laws; and

          ix.     Order such additional legal or equitable relief as the Court finds just and
                  proper.



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                         JURY DEMAND
PLAINTIFF JOHN DOE DEMANDS A JURY TRIAL ON ALL CLAIMS SO TRIABLE

                                    Respectfully submitted,




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